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                           EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA




   Eric Romano, et al., individually and on behalf of all
   others similarly situated, Plaintiffs,                               No. 19-cv-21147-JG

   v.

   John Hancock Life Insurance Company (U.S.A.),
   Defendant.




                          EXPERT REPORT OF STEVEN K. GISSINER



                                            August 23, 2021




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   I.     Introduction

          A.      Qualifications

          1.      I have worked in the retirement plan services industry for approximately 40 years

   in a variety of roles and with a wide range of responsibilities. These responsibilities have

   spanned from serving as the lead consultant (Relationship Manager) for a wide range of defined

   contribution plan engagements to managing teams of individuals that included first-year

   consultants and experienced Senior Consultants and Directors providing retirement plan

   administrative services (e.g., recordkeeping) for clients with retirement plans that had less than

   100 participants to plans with more than 50,000 participants. In addition to managing teams

   providing administrative (participant recordkeeping) and consulting services to clients, I have

   consulted with clients in the areas of retirement plan design, compliance, administrative

   procedures, employee communications, and investment education services. With the exception

   of retirement plan administration, I currently provide these services to a variety of clients,

   including a number of Fortune 500 companies.

          2.      In addition to the aforementioned consulting services, I currently consult with

   clients in the areas of retirement plan cost determination and fee benchmarking; assist plan

   sponsors and retirement plan committees in understanding and implementing administrative fee

   arrangements; develop and distribute Requests for Proposals (“RFPs”) and Requests for

   Information (“RFIs”) for retirement plan administrative services; consult with client personnel

   and plan committees regarding plan design issues and, if appropriate, modifications to existing

   plan features and provisions; review and present quarterly or semi-annual fund monitoring

   reports to client personnel and plan committees that have responsibility for selecting and

   monitoring the performance of plan investment funds; and provide consulting and expert witness



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   services in the area of retirement plan fee litigation. My experience with respect to the selection

   of investment funds for defined contribution retirement plans includes consulting with plan

   sponsors and committees that are establishing investment options for newly implemented plans,

   adding investment funds to their existing lineup within a new asset category (an international

   emerging markets fund, for example), replacing funds with alternative investments, or that have

   elected to reconfigure all or components of their investment fund lineup resulting from a service

   provider transition.

          3.      Over the course of my career, I have consulted with hundreds of retirement plan

   sponsors with retirement plan arrangements ranging in size from less than $5 million to just

   below $9 billion in assets. My experience includes working with a wide assortment of business

   organizations, including mutual fund companies, banks, insurance companies, and consulting

   firms. At present, I consult with approximately 30 retirement plan clients on a recurring basis

   and an additional ten clients on a periodic or non-recurring basis. This work is in addition to the

   aforementioned expert witness consulting services.

          4.      After approximately four years of employment with two banks that provided

   investment management and administrative services for retirement plan clients, I joined Coopers

   & Lybrand in 1985 as a Consultant in the Retirement Plans Practice, where my responsibilities at

   that time were specific to the administration of defined contribution plans. I advanced through

   the firm and became a Partner in 1995, assuming responsibility for the management of the

   Western Region Administrative Outsourcing Practice, which included defined contribution and

   defined benefit plan administration.

          5.      During the 1985–2001 period, Coopers & Lybrand, as a stand-alone organization

   and then as a larger entity following the acquisition of the benefits consulting firm of Kwasha




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   Lipton (and then later following the merger with Price Waterhouse, whereby the merged entity

   was renamed PricewaterhouseCoopers), was a significant provider of defined contribution

   administrative, consulting, employee communications, and total benefits (defined benefit pension

   plan and health and welfare plan administration) outsourcing services.1 A substantial number of

   the plans administered by our firm during this period were complex in nature and contained

   features that included multiple domestic, international, and fixed income investment options,

   stable value funds (by fund and class year), company stock funds, collective investment trusts,

   separately managed accounts, participant loans (including plans with more than one loan

   permitted to be outstanding), various in-service withdrawal options, numerous alternatives for

   the payment of benefits upon termination of employment or retirement, various payroll locations

   resulting in multiple recurring data file transmissions, and custom reporting requirements.

              6.       In 2001, PricewaterhouseCoopers sold its retirement plan administrative servicing

   business to Mellon/Buck Consultants. Prior to the sale of the business, I elected to leave the firm

   and, in March of 2001, was directly admitted as a Partner in the Human Capital Practice of

   Arthur Andersen. Although Arthur Andersen did not offer retirement plan administrative

   services, the firm provided retirement plan consulting, compliance, and investment advisory

   services to a wide range of clients.

              7.       The Human Capital Practice of Arthur Andersen was acquired by Clark/Bardes,

   Inc. (d/b/a Clark Consulting) in May of 2002.2 Clark Consulting provided retirement plan,

   investment advisory, and compensation consulting services, in addition to administering non-


   1
    In its fiscal year ending June 2001, PricewaterhouseCoopers’ administrative servicing business, branded as Unifi,
   had revenues of $351 million and approximately 2,100 employees. (Klein, Camilla, “Mellon Completes Unifi
   Acquisition,” PlanSponsor, January 4, 2002, available at: https://www.plansponsor.com/mellon-completes-unifi-
   acquisition/; Wheelan, Hugh, “Mellon Buys out PwC HR Consulting Subsidiary,” Investment & Pensions Europe,
   November 28, 2001, available at: https://www.ipe.com/mellon-buys-out-pwc-hr-consulting-subsidiary/4745.article.)
   2
       Clark/Bardes, Inc., Form 10-K, for the fiscal year ended December 31, 2002, p. 29.


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   qualified retirement plans. As a Senior Vice President at Clark Consulting, I established the

   firm’s retirement plan cost benchmarking services and, with the assistance of others at the firm,

   marketed these services to current and prospective clients throughout the country. During this

   period, in addition to performing a substantial number of retirement plan cost benchmarking

   projects, I was involved in various RFP projects performed for defined contribution retirement

   plans, and I consulted with many plan sponsors on issues related to plan design, investment

   selection, administration, employee communications, compliance, and investment education.

          8.      In December 2003, I established an independent contractor arrangement with

   Clark Consulting, pursuant to which I continued to provide consulting services to new and

   existing clients. These services were performed within the structure of my own limited liability

   company, Orchard Hills Consulting (“OHC”). After the independent contractor arrangement

   with Clark Consulting expired at the end of 2006, I continued to perform services on behalf of

   clients (consistent with what has been described in paragraph 2 above) within the structure of my

   own limited liability company and through independent contractor consulting arrangements with

   two different investment advisory firms.

          9.      In my career, I have managed (in a relationship management or consulting role)

   more than 1,000 separate defined contribution plan servicing arrangements, completed nearly

   600 retirement plan cost and fee benchmarking studies for clients, performed in excess of 160

   RFP projects specific to the provision of defined contribution administrative services, and

   managed teams of individuals (at one point, as many as 60) providing administrative,

   compliance, and consulting services to a variety of clients and plans. My current and prior

   experience in performing participant recordkeeping services; managing defined contribution plan

   engagements; consulting to plan sponsors and committees regarding plan features, provisions,




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   and administrative issues; structuring administrative fee and revenue sharing payment

   arrangements; performing fee benchmarking studies; monitoring plan investments, and

   completing RFP and RFI projects has provided me with a high level of knowledge about how

   defined contribution plans are marketed, administered, and serviced. This level of knowledge

   also extends to how plan sponsors and providers work on a collaborative basis to structure fee

   and service arrangements that correspond to the unique demographics and requirements of each

   individual plan sponsor, with a particular focus on ensuring that administrative and compliance

   services are performed in a manner consistent with the requirements and expectations of the plan

   sponsor, and, by extension, plan participants.

           10.      My resume, which provides additional detail on my education, qualifications, and

   professional affiliations, is attached as Appendix A. I am being compensated at the rate of $525

   per hour for my time. Personnel of Analysis Group, Inc. assisted me by performing research and

   analysis under my direction and guidance. Neither my compensation nor that of Analysis Group

   is contingent upon my findings, the testimony I may give, or the outcome of this litigation.


           B.       Assignment

           11.      I have been engaged by Goodwin Procter, LLP (“Counsel”), counsel for

   Defendant, John Hancock Life Insurance Company (U.S.A.) (also referred to throughout this

   report as “John Hancock” or “Defendant”), in connection with the matter Eric Romano, et al.,

   individually and on behalf of all others similarly situated, v. John Hancock Life Insurance

   Company (U.S.A.), No. 19-cv-21147-JG.3 In this matter, Eric and Todd Romano (together,




   3
     Eric Romano, et al., individually and on behalf of all others similarly situated, v. John Hancock Life Insurance
   Company (U.S.A.), Plaintiffs’ Motion for Class Certification and Incorporated Memorandum of Law, July 26, 2021
   (“Plaintiffs’ Motion for Class Certification”).


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    “Named Plaintiffs”), trustees of the Romano Law, PL 401(k) Plan (“Named Plaintiff Plan”) seek

    to represent a class (“Proposed Class”), defined as:

               All trustees of all defined-contribution employee benefit plans covered by the
               Employee Retirement Income Security Act of 1974 with which Hancock had group
               annuity contracts and recordkeeping agreements at any time from March 25, 2013
               … and that have, since March 25, 2013, allocated assets through Hancock’s
               Signature Platform to International Investment Options that have passed through
               foreign tax credits to Hancock.4

               12.       Based on this definition, I refer to the period from March 25, 2013 to the present

    as the “Proposed Class Period.” I also refer to the retirement plans associated with the Proposed

    Class as the “Plans.”

               13.       Counsel has asked me to do the following:

           1. Evaluate whether information on John Hancock’s allowance of foreign tax credits was
              available to members of the Proposed Class, which include sponsors, trustees, and
              fiduciaries of the Plans (or “Proposed Class Members”) or their advisors (“Proposed
              Class Advisors”).
           2. Evaluate whether John Hancock’s alleged failure to disclose its allowance of foreign tax
              credits would have been material to Proposed Class Members’ and Proposed Class
              Advisors’ evaluations of recordkeepers and investment options. As part of this
              evaluation, I have been asked to do the following:
               a. Identify the factors that plan sponsors and plan advisors of retirement plans typically
                  consider when evaluating plan recordkeepers, and opine on whether foreign tax
                  credits are among the various factors typically considered in the evaluation of plan
                  recordkeepers, and, if so, the role they play in that evaluation.
               b. Identify the factors that plan sponsors and plan advisors of retirement plans typically
                  consider when evaluating investment options for retirement plans, and opine on
                  whether foreign tax credits are among the various factors typically considered in the
                  evaluation of investment options, and if so, the role they play in that evaluation.
           3. Evaluate whether John Hancock’s alleged failure to disclose its allowance of foreign tax
              credits would have affected the Plans’ recordkeeping fee arrangements with John
              Hancock. As part of this evaluation, I have been asked to do the following:
               a. Describe how recordkeeping fee arrangements are established, including how and
                  when recordkeepers for retirement plans offer fee concessions.
               b. Evaluate whether additional disclosures of John Hancock’s allowance of foreign tax
                  credits, and fee concessions for foreign tax credits, would have affected

    4
        Plaintiffs’ Motion for Class Certification, pp. 1, 11.


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                     recordkeeping fee arrangements between Proposed Class Members and John
                     Hancock.
           4. Evaluate Plaintiffs’ claim that John Hancock received “more than reasonable
              compensation for the services it provided.”5

               14.       The documents, materials, and other information I considered when conducting

    my analysis and forming my opinions are listed in this report or in Appendix B.


    II.        Summary of Opinions

               15.       The opinions expressed below in this report are the result of my review and

    analysis to date. If additional information or materials become available, I reserve the right to

    update my opinions and analysis as appropriate.

               1. If Proposed Class Members (or the Proposed Class Advisors) had deemed
                  information on foreign tax credits relevant to the decision to select and retain John
                  Hancock as recordkeeper, they could have obtained information on John Hancock’s
                  allowance of foreign tax credits. (Section IV)
                     a. In my experience, to the extent a plan sponsor or plan advisor is interested in
                        obtaining information specific to foreign tax credits, they may make direct inquiries
                        with the recordkeepers’ sales representatives or other designated representatives
                        (implementation consultant or account manager, for example). In addition to such
                        inquiries, information on foreign tax credits is also disclosed in investment product
                        prospectuses. (Section IV.A)
                     b. Consistent with my experience, Proposed Class Members (who are often assisted
                        by the Proposed Class Advisors) have discretionary authority to select and replace
                        their Plan recordkeeper and Plan investment options. As recordkeeper, John
                        Hancock has no role in these decisions. As such, to the extent a Proposed Class
                        Member and/or the Proposed Class Advisor deems foreign tax credits to be
                        important, that Proposed Class Member (with their Proposed Class Advisor) has
                        discretion to: (1) select a different recordkeeper whose allowance of foreign tax
                        credits is aligned with the Proposed Class Member’s preferences; or (2) select
                        investment options that do not pay foreign taxes. (Section IV.B)
               2. Based on my experience, it is my opinion that additional disclosures of John
                  Hancock’s allowance of foreign tax credits would not have affected how many
                  Proposed Class Members and Proposed Class Advisors evaluated recordkeepers and
                  investment options. (Section V)
                     a. Plan sponsors (assisted by plan advisors) typically evaluate recordkeepers based on

    5
        Plaintiffs’ Motion for Class Certification, p. 7.


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                whether the types and quality of administrative services offered by a recordkeeper
                align with their plan’s, and by extension their plan participants’, specific needs, and
                whether the overall fee for these services is reasonable. In my nearly 40 years of
                experience working with retirement plans, I have never experienced, nor have I
                been aware of, foreign tax credits being relevant to the evaluations or selection of
                recordkeepers and/or investment options by plan sponsors and plan advisors. For
                example, I have not seen, participated in, or responded to, RFPs that included a
                request for information regarding a recordkeeper’s allowance of foreign tax credits.
                Likewise, apart from one recordkeeper referenced in documentary evidence in this
                matter, I have not encountered a recordkeeper that advertises fee concessions for
                foreign tax credits indicating that recordkeepers, with one noted exception,
                generally deem this feature to be irrelevant to their retirement plan clients. (Section
                V.A)
            b. Plan sponsors and plan advisors typically focus their evaluation of investment
               options on whether those investment options meet the investment needs and
               preferences of plan participants. Based on my experience, it is my opinion that
               whether, or to what extent, an international investment option pays foreign taxes or
               allows foreign tax credits would have carried little, if any, relevance to whether
               Proposed Class Members and Proposed Class Advisors decide to select or retain
               certain investment options. (Section V.B)
         3. Based on my experience, it is my opinion that implementing a fee concession for
            foreign tax credits, as Plaintiffs assert, would not necessarily decrease total
            recordkeeping fees for many Plans of the Proposed Class. (Section VI)
            a. While recordkeepers may provide fee concessions (or discounts) for a variety of
               reasons, including to incentivize plan participants to contribute, to attract plans of
               a certain size during a competitive bidding process, or to incentivize established
               plans to remain on the recordkeeping platform, in my experience, they rarely, if
               ever, provide fee concessions for foreign tax credits. (Section VI.A)
            b. Based on my experience, it is my opinion that fee concessions for foreign tax credits
               proposed by Plaintiffs would not have been material to the overall recordkeeping
               fee arrangement for Plans of the Proposed Class. Because recordkeepers have the
               ability to achieve the same total revenues by making offsetting adjustments to
               different components of total fees, a fee concession that would lower the total
               recordkeeping fee below a recordkeeper’s required revenue can be offset by
               simultaneously increasing the compensation it collects from other fee components
               (or decreasing other fee concessions). (Section VI.B)
            c. Based on my review of the documentary evidence, it is my opinion that additional
               disclosures of John Hancock’s allowance of foreign tax credits or fee concessions
               for foreign tax credits would not have affected the recordkeeping fee arrangement
               between the Named Plaintiffs and John Hancock for the Named Plaintiff Plan.
               Despite having information on foreign tax credits and access to John Hancock’s
               sales representatives, the Named Plaintiffs and the Named Plaintiff Plan’s advisor
               did not seek to renegotiate the recordkeeping fee arrangement with John Hancock,
               did not prioritize foreign tax credits while monitoring the Named Plaintiff Plan’s


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                         investments, and did not prioritize foreign tax credits when selecting a new
                         recordkeeper in 2020. (Section VI.C)
               4. The compensation that John Hancock received for the services it provided were
                  reasonable and in line with the fees received by other recordkeepers for servicing
                  similarly-sized plans. (Section VII)
                     a. Plaintiffs’ assertion that John Hancock received “more than reasonable
                        compensation”6 is inconsistent with the competitive nature of the retirement plan
                        recordkeeping industry. As one of the major providers of recordkeeping services
                        to small defined contribution plans, John Hancock’s ability to attract and retain
                        retirement plans reflects that plan sponsors and plan advisors seeking
                        recordkeeping services generally consider the services John Hancock provides and
                        the compensation it receives in exchange for these services to be reasonable.
                        (Section VII.A)
                     b. Survey data supports that the compensation John Hancock received for the services
                        it provided to the Named Plaintiff Plan as of its inception was reasonable and in
                        line with the compensation that other recordkeepers received for servicing
                        similarly-sized plans. (Section VII.B)

    III.       Background

               A.        An Overview of Defined Contribution Plans

               16.       Defined contribution plans have an important role in the U.S. retirement system.

    As of December 31, 2020, defined contribution plans contained approximately $9.5 trillion in

    assets across more than 845,000 plans.7 The substantial majority of these plans are small in

    nature, with approximately 93 percent having less than $10 million in assets.8

               17.       Defined contribution plans, such as 401(k) plans, provide participants with

    opportunities to make tax-advantaged contributions for the purpose of accumulating assets that




    6
        Plaintiffs’ Motion for Class Certification, p. 7.
    7
     PlanSponsor, “2021 Recordkeeping Survey: Industry Snapshot,” June 21, 2021, available at:
    https://www.plansponsor.com/research/2021-recordkeeping-survey/?pagesec=2#Industry%20Snapshot.
    8
      Data not reported in the PlanSponsor 2021 Recordkeeping Survey. See, PlanSponsor, “2020 Recordkeeping
    Survey: Industry Snapshot,” July 15, 2020, available at: https://www.plansponsor.com/research/2020-
    recordkeeping-survey/?pagesec=3#Industry%20Snapshot.


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    can be used to provide income during retirement. Unlike defined benefit pension plans,9 defined

    contribution plans do not guarantee a specific or defined benefit at retirement, but rather define

    the methodology used to determine employee and employer contributions (hence the term

    defined contribution plan). In a participant-directed defined contribution plan,10 such as 401(k)

    plans, eligible employees may elect to defer a fixed amount or a specified percentage of their

    pre-tax (or in some instances after-tax) compensation to the plan (within limits set by the IRS

    and/or the provisions of the plan) and allocate their contributions among the available investment

    options selected and maintained by their plan sponsor. Further, participants in 401(k) defined

    contribution plans are not taxed on their elective deferrals and appreciation in the value of their

    accounts until those amounts are distributed.11 Employers, or the sponsors of these plans, may

    elect to contribute additional contributions on behalf of employees, either as a matching

    contribution that is based on amounts contributed by eligible participants or as an additional

    discretionary contribution that is typically allocated on the basis of eligible participant

    compensation. Employer contributions are deductible on the employer’s federal income tax

    return (subject to deduction limitations).12




    9
     Defined benefit plans are employer-based retirement programs that provide fixed, pre-established benefits for
    employees at retirement. (Internal Revenue Service, “Defined Benefit Plan,” available at:
    https://www.irs.gov/retirement-plans/defined-benefit-plan.)
    10
      Participants typically direct the investment of their accounts in defined contribution retirement accounts and
    choose from the lineup of options offered in the plan. (BrightScope/ICI, “The BrightScope/ICI Defined
    Contribution Plan Profile: A Close Look at 401(k) Plans, 2016,” June 2019, p. 5; BrightScope/ICI, “The
    BrightScope/ICI Defined Contribution Plan Profile: A Close Look at ERISA 403(b) Plans, 2016,” April 2020, p. 9.)
    11
      Internal Revenue Service, “401(k) Plan Overview,” available at: https://www.irs.gov/retirement-plans/plan-
    sponsor/401k-plan-overview.
    12
      Internal Revenue Service, “401(k) Plan Overview,” available at: https://www.irs.gov/retirement-plans/plan-
    sponsor/401k-plan-overview.


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             B.       Recordkeeping Services

             18.      Retirement plans require a wide variety of services to be performed. These

    services are broadly categorized as investment management services, administrative or

    recordkeeping services, employee communications and investment education, annual compliance

    testing, and annual government reporting services. Typically, employers that sponsor defined

    contribution plans select service providers (commonly referred to as recordkeepers), such as

    John Hancock, to handle such operations in a manner consistent with their plans’ provisions,

    features, and applicable regulatory requirements.13 In addition, and particularly with respect to

    smaller defined contribution plans, a third-party administrator (“TPA”) will work with the

    recordkeeper to assist in the implementation of the plan, conduct annual testing, prepare

    government filings, and coordinate participant transactions (loans and withdrawals, for

    example).14 Investment management services involve managing plan investments while

    administrative services include managing the numerous daily operational functions the plan

    requires to perform accurately and efficiently.

             19.      While most recordkeepers (either directly or in partnership with a TPA) provide

    many of the following administrative services, the structure, quality, and fees associated with

    such services may vary substantially across recordkeepers:15

         •   Recordkeeping and Transaction Processing. These services include maintaining
             individual participant records specific to plan balances by fund and contribution type


    13
      BrightScope/ICI, “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2016,”
    June 2019, p. 41; BrightScope/ICI, “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at
    ERISA 403(b) Plans, 2016,” April 2020, pp. 43, 64.
    14
      John Hancock, “Reflections on TPA Day and the value of partnership,” October 16, 2019, available at:
    https://retirement.johnhancock.com/us/en/viewpoints/practice-management/Reflections-on-TPA-Day-and-the-value-
    of-partnership.
    15
      For further discussion of the services provided to 401(k) plans, see, e.g., Collins, S., et al., “The Economics of
    Providing 401(k) Plans: Services, Fees, and Expenses, 2016,” ICI Research Perspective 23, No. 4, June 2017, p. 3,
    available at: https://www.ici.org/pdf/per23-04.pdf.


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             (e.g., employer matching, employer discretionary, employee elective deferral, employee
             rollover, etc.), accepting and editing payroll files, directing contributions to participant-
             selected investments, tracking vesting amounts, and administering and executing daily
             transactions directed by participants. Participant-directed transactions may include
             changes in contribution percentages and investment allocations, transfers of investments
             between funds, loan requests and loan repayments, loan re-amortizations, in-service
             withdrawal requests, payment requests resulting from termination of employment or
             retirement, and administering and reissuing (if required) checks that have not been cashed
             by plan participants.
         •   Data Management. These services include enrolling new participants in the plan and
             maintaining employee demographic information (birth, hire, rehire, and termination
             dates, along with the status of the participant (i.e., active, inactive, terminated), address
             information, division code or company location, contribution and investment elections,
             and hours of service data) for both active and terminated employees. In addition to
             managing data, recordkeepers are also responsible for maintaining the security and
             integrity of participant data, and typically spend substantial amounts each year on
             cybersecurity measures to protect the accounts of plan participants.16 In recognition of
             the importance of securing participant data, the Department of Labor recently released
             guidance for plan sponsors, plan fiduciaries, plan participants, and recordkeepers
             regarding 401(k) plan cybersecurity best practices.17
         •   Plan Design/Documentation. Recordkeepers consult with the plan sponsor on the design
             and administration of the plan, offer recommendations to improve plan participation and
             retirement income outcomes, and assist in the development of administrative processing
             procedures. Recordkeepers also assist in preparing and distributing plan documents and
             annually required legal and regulatory notices and disclosures.
         •   Plan Amendments/Regulatory Updates. These services include updating plan documents,
             participant forms, and disclosures to comply with new legal and regulatory requirements,
             and modifications that result from changes requested by the plan sponsor.
         •   Transaction Approval. Participant loans, withdrawals, and distributions are subject to
             various legal and regulatory provisions, as well as plan-specific guidelines.
             Recordkeepers are typically responsible for ensuring that such transactions are processed
             in accordance with applicable provisions.
         •   Compliance. Numerous tests must be performed annually to ensure that plans do not
             discriminate in favor of highly compensated employees or provide benefits that exceed
             legal or regulatory limits. Recordkeepers (or TPAs, if applicable) also often complete for
             plan sponsors annual Form 5500 filings in addition to the various schedules that
             accompany the filing. Other services include preparing financial reports, and consulting


    16
      Iacurci, G., “Empower’s New 401(k) Cybersecurity Guarantee a Sign of the Times,” Investment News, June 26,
    2018, available at: https://www.investmentnews.com/empowers-new-401k-cybersecurity-guarantee-a-sign-of-the-
    times-74750.
    17
      Department of Labor, “US Department of Labor Announces New Cybersecurity Guidance for Plan Sponsors, Plan
    Fiduciaries, Record-keepers, Plan participants,” April 14, 2021, available at:
    https://www.dol.gov/newsroom/releases/ebsa/ebsa20210414.


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             with and providing additional requested documentation to external plan auditors
             responsible for the preparation of audited financial statements.
         •   Consulting/Special Services. Recordkeepers often assist with plan mergers or other
             changes necessitated by company acquisitions, distribute assets and transfer participant
             data in the event of a divestiture of a portion of a company, consult on changes to
             administrative procedures to accommodate plan design modifications, communicate and
             manage changes to investment options, and, when required, correct errors.
         •   Communications/Investment Education. Recordkeepers prepare communications
             materials for new and existing plan participants and, on a recurring basis, offer retirement
             planning tools, software, and other forms of investment education materials.
             Recordkeepers may also, at the election of the plan sponsor, provide participants with
             asset allocation recommendations or managed account services. Managed account
             services are a form of investment management service whereby an investment manager
             selects and monitors a portfolio of investments for individual plan participants.

             20.      As required by ERISA,18 the assets of retirement plans that are administered

    (recordkept) for plan participants are held by either an insurance company (on “annuity-based

    recordkeeping platforms”) or a trust company (on “trust-based recordkeeping platforms”),

    depending on the preference and direction of the plan sponsor.19 Providers of annuity-based

    recordkeeping platforms such as Empower (Great-West), Voya, John Hancock, OneAmerica,

    and Prudential, offer group variable annuity contracts (“GVACs”),20 where plan participants of



    18
      29 CFR § 2550.403a-1, 403b-1. (“Except as otherwise provided in § 403b-1, all assets of an employee benefit
    plan shall be held in trust by one or more trustees pursuant to a written trust instrument. … The requirements of
    section 403(a) of the Act and section 403a-1 shall not apply - (1) To any assets of a plan which consist of insurance
    contracts or policies issued by an insurance company qualified to do business in a State.”)
    19
      “The Employee Retirement Income Security Act of 1974 (ERISA) requires that retirement plan assets—such as
    for 401(k)s—be held in a trust (with some exceptions). … Insurance companies and trust companies enter into
    distribution agreements with mutual fund companies that allow them to make the mutual fund shares available to
    participants. Insurance companies and trust companies also build and maintain the behind-the-scenes infrastructure
    (such as trading and accounting systems) that’s needed to process participants’ investment trades.” (John Hancock,
    “Group annuity or trust company—which is better for a 401(k) plan to make investments available?” July 7, 2021,
    available at: https://retirement.johnhancock.com/us/en/viewpoints/plan-design/group-annuity-or-trust-company-
    which-is-better-for-a-401-k--plan.)
    20
      Empower Retirement, “Your financial future is our priority,” available at: https://qa.empower-
    retirement.com/individuals/additional-financial-offerings/annuities.shtml; Voya Financial, “Annuities,” available at:
    https://www.voya.com/article/annuities; Prudential, “Create a more secure retirement with protected income from an
    Annuity,” available at: https://www.prudential.com/personal/annuities; OneAmerica, “Tax-deferred Future Income,”
    available at: https://www.oneamerica.com/products-services/individuals-annuities; Deposition of Eric Romano, June
    15, 2021 (“Eric Romano Deposition”), Exhibit 15 (Group Annuity Contract for the Romano Law, PL 401(k) Plan by
    John Hancock Life Insurance Company (U.S.A.), effective October 7, 2014).


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    contracted retirement plans can invest in investment options made available through Separate

    Accounts owned by the insurance company. Plan participants of plans on annuity-based

    platforms direct monies into “sub-accounts” within insurance company Separate Accounts. The

    sub-account then purchases shares of a specific corresponding portfolio, such as a mutual fund,

    as directed by the participants and/or plan sponsors.21

            21.      As GVACs are regulated by the Financial Industry Regulatory Authority

    (“FINRA”) and individual state insurance departments, these contracts must be sold through

    registered broker-dealers and investment advisors.22 According to the July 2021

    BrightScope/ICI Profile of 401(k) Plans, a widely-used source of information on the provisions

    and features of defined contribution plans, insurance companies are not only “the most common

    recordkeeper type for 401(k) plans,” but also “more likely to provide recordkeeping services” for

    smaller 401(k) plans.23 More specifically, insurance companies serviced 56.1 percent of plans

    with less than $1 million in assets, 57.9 percent of plans with $1 million to $10 million in assets,

    and 49.5 percent of all plans reported in the BrightScope/ICI database.24




    21
      Eric Romano Deposition, Exhibit 15 (Group Annuity Contract for the Romano Law, PL 401(k) Plan by John
    Hancock Life Insurance Company (U.S.A.), effective October 7, 2014, p. 3); Deposition of Keith Holden, July 21,
    2021 (“Holden Deposition”), 44:19-46:13.
    22
      FINRA, “Variable Annuities,” available at: https://www.finra.org/investors/learn-to-invest/types-
    investments/annuities/variable-annuities; FINRA, “Application Of NASD Conduct Rules To Group Variable
    Contracts And Other Exempted Securities,” available at: https://www.finra.org/rules-guidance/notices/97-27. See
    for example, California Department of Insurance, “Variable Life and Variable Annuity,” available at:
    http://www.insurance.ca.gov/0200-industry/0050-renew-license/0200-requirements/life-only/variable-contracts.cfm;
    State of Maine, “Understanding Annuities,” available at:
    https://www.maine.gov/pfr/insurance/consumer/individuals_families/life_annuities_viaticals/annuities/understandin
    g_annuities.html.
    23
      BrightScope/ICI, “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018,”
    July 2021, p. 3.
    24
      BrightScope/ICI, “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018,”
    July 2021, p. 44.


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            22.      Trust-based recordkeeping platforms are an alternative to annuity-based

    recordkeeping platforms. Investment fund companies such as Fidelity, Vanguard, and Charles

    Schwab, in addition to third-party administrators such as Alight Solutions, often offer trust-based

    recordkeeping platforms.25 Each plan using a trust-based recordkeeping platform establishes a

    trust that directly invests and owns shares in the investment options (i.e., mutual funds and other

    securities) to which their participants direct money.26 As such, trusts own shares of the mutual

    funds to which plan participants allocate assets. Unlike insurance companies on annuity-based

    recordkeeping platforms, trusts owned by plans on trust-based recordkeeping platforms do not

    file or pay U.S. taxes on an annual basis. Both the Federal Thrift Savings Plan (the largest

    defined contribution plan in the U.S.27) and AT&T Wireless 401(k) Savings Plan (second largest

    defined contribution plan sponsored by a U.S. corporation28) disclose that plan assets are held in

    their respective trusts and are “exempt from [U.S.] taxation.”29 Some insurance company




    25
      Ramirez, D., “401(k) Recordkeeper: What They Do And What To Look For,” ForUsAll, February 21, 2020,
    available at: https://www.forusall.com/401k-blog/401k-recordkeeper-what-they-do-and-what-to-look-for/; Fidelity,
    “Investment and Retirement Products,” available at:
    https://clearingcustody.fidelity.com/app/item/RD_13569_42640/products-and-services/investment-and-retirement-
    products.html; Vanguard, “Defined Contribution Recordkeeping,” available at:
    https://institutional.vanguard.com/solutions/dcrecordkeeping/consultativeexperience; Charles Schwab, “401(k) plan
    services paired with independent providers,” available at:
    https://workplacefinancialservices.schwab.com/retirement-services/401k-plans-paired-independent-providers.
    26
       Internal Revenue Service, “IRC 401(k) Plans — Establishing a 401(k) Plan,” available at:
    https://www.irs.gov/retirement-plans/irc-401k-plans-establishing-a-401k-plan.
    27
      Pension and Investments, “P&I 1,000 largest retirement plans: 2021,” available at:
    https://researchcenter.pionline.com/v3/rankings/plan-sponsors/profiles/429708/overview.
    28
      Pension and Investments, “P&I 1,000 largest retirement plans: 2021,” available at:
    https://researchcenter.pionline.com/v3/rankings/plan-sponsors/profiles/429708/overview.
    29
     Summary of the Thrift Savings Plan, p. 22, available at: https://www.tsp.gov/publications/tspbk08.pdf; AT&T
    Wireless 401(k) Savings Plan, Form 11-K, December 31, 2002, p. 8.


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    recordkeepers that offer annuity-based recordkeeping platform services may also offer trust-

    based recordkeeping platform services.30


            C.       John Hancock and Retirement Plan Services Provided Under Its Group
                     Variable Annuity Contracts

            23.      John Hancock offers, among other things, administrative and recordkeeping

    services to retirement plan sponsors.31 With over $160 billion of assets under management and

    administration (“AUMA”) and servicing over 49,000 plans, John Hancock and its affiliates

    provide plan sponsors with, among other things, “streamlined administrative solutions,” a “broad

    investment platform,” and “insightful plan reporting.”32 John Hancock provides plan sponsors

    access to plan and participant data and engages in trustee and custodial services, ERISA and

    consulting services, compliance testing, and other services.33 John Hancock and its affiliates are

    the fifth largest recordkeeping service provider (in terms of number of plans serviced) for

    defined contribution plans with less than $10 million in assets.34

            24.      GVACs and recordkeeping agreements are offered by John Hancock through its

    Signature Platform.35 In accordance with the National Association of Insurance Commissioners


    30
      John Hancock, “Group annuity or trust company—which is better for a 401(k) plan to make investments
    available?” July 7, 2021, available at: https://retirement.johnhancock.com/us/en/viewpoints/plan-design/group-
    annuity-or-trust-company-which-is-better-for-a-401-k--plan.
    31
      John Hancock, “Retirement Plans,” available at: https://retirement.johnhancock.com/us/en/retirement-
    products/retirement-plans.
    32
      Data as of December 31, 2020. John Hancock, “Retirement Plans,” available at:
    https://retirement.johnhancock.com/us/en/retirement-products/retirement-plans.
    33
      John Hancock Retirement Plan Services, “Your Retirement Plan Proposal: Prepared for [Redacted for CID]
    Retirement Plan,” July 31, 2017, UBS00004545-565 at 552.
    34
      PlanSponsor includes the following recordkeepers on its list of “Largest Recordkeepers, by 401(k)s With
    <$10MM in Assets”: Paychex, Inc., ADP Retirement Services, American Funds, Empower Retirement, John
    Hancock, Ascensus, Principal Financial Group, Transamerica Retirement Solutions LLC, Voya Financial, and
    Newport. (PlanSponsor, “2021 Recordkeeping Survey: Top Recordkeepers,” June 21, 2021, available at:
    https://www.plansponsor.com/research/2021-recordkeeping-survey/?pagesec=8#Provider%20Rankings.)
    35
      John Hancock, “Retirement Plan Fiduciaries, We’re Here to Help,” available at:
    https://retirement.johnhancock.com/us/en; Holden Deposition, 18:17-19:2.


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    (“NAIC”) state requirements, assets held in GVACs offered by John Hancock are owned through

    Separate Accounts, which are maintained by John Hancock.36 As described above, plan

    participants direct their assets to their chosen investment options, which correspond to a sub-

    account owned by John Hancock, within its Separate Accounts which, in turn, purchases shares

    of a corresponding security.37 In other words, plan participants have an interest in units of the

    sub-account, while the sub-account owns corresponding shares of the underlying security.38

    Investments that underlie John Hancock sub-accounts may be managed by either John Hancock

    or external investment managers. As I will discuss in more detail below in Section IV.B, John

    Hancock does not have any discretion as to the allocation of assets across the sub-accounts

    offered on its Signature Platform.


             D.       Named Plaintiffs

             25.      From October 7, 2014 through March 22, 2021, the participants of the Named

    Plaintiff Plan invested assets through a GVAC issued by John Hancock.39 As trustees of the




    36
      According to Rick Carlson, VP of Tax and Tax Controller at John Hancock, a “[s]eparate account is required
    under the NAIC state requirements where certain variable contracts are required to be separated from the general
    account.” (Deposition of Rick Carlson, April 29, 2021 (“Carlson Deposition”), 12:3-4, 48:4-7.) See also, Eric
    Romano, et al., individually and on behalf of all others similarly situated, v. John Hancock Life Insurance Company
    (U.S.A.), Class Action Complaint, March 25, 2019 (“Complaint”), ¶ 13.
    37
      Holden Deposition, 46:4-13. (“Q Okay. And so the way it works then is if a participant has an account in a
    retirement plan, that participant will decide which investment option to direct a certain amount of its funds into and
    then John Hancock will shift money in a separate account into the corresponding subaccount; is that right? A That’s
    the basic flow of it.”)
    See also, John Hancock Retirement Plan Services, “Important information for Plan Sponsors,” 2018, JH-
    ROMANO_037948-954 at 948 (“John Hancock makes available a platform of sub-accounts (the ‘Funds’) for
    selection by fiduciaries of qualified retirement plans, including participant directed plans.”); Holden Deposition,
    22:6-11, 44:19-45:21; Complaint, ¶¶ 22-24, 27.
    38
      Holden Deposition, 55:25-56:3. (“The participants in this case own units of John Hancock subaccounts and not
    units of the underlying mutual fund itself.”)
    39
     Eric Romano Deposition, Exhibit 15 (Group Annuity Contract for the Romano Law, PL 401(k) Plan by John
    Hancock Life Insurance Company (U.S.A.), effective October 7, 2014, p. 1); Confirmation of Total Discontinuance,
    March 22, 2021 (115534 Confirmation of Total Discontinuance.pdf).


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    Named Plaintiff Plan, the Named Plaintiffs are the contract holders of the GVAC. 40 The Named

    Plaintiff Plan offered the employees of Romano Law, PL (including the Named Plaintiffs) a tax-

    advantaged retirement savings plan. In addition, Romano Law, PL received tax deductions for its

    employer contributions to the Named Plaintiff Plan. The Named Plaintiffs, as equal owners of

    Romano Law, PL,41 shared the benefit of these tax deductions. As Eric Romano states in his

    deposition, while the Named Plaintiff Plan provides “a valuable benefit for our employees,” it

    also “maximize[d] … the tax advantages for me and Todd.”42 It is my understanding that

    providing the Named Plaintiff Plan would lead to tax savings of more than $44,000 in 2014.43

               26.     When the Named Plaintiffs entered into the GVAC, they were able to select from

    approximately 200 unique investment options that were available to participants of the Named

    Plaintiff Plan.44 The Recordkeeping Agreement between the Plan trustees (the Named Plaintiffs)

    and John Hancock, dated June 18, 2014 (“2014 Recordkeeping Agreement”), outlines the

    recordkeeping and administrative services offered by John Hancock as well as estimated annual

    plan costs.45




    40
     Eric Romano Deposition, Exhibit 15 (Group Annuity Contract for the Romano Law, PL 401(k) Plan by John
    Hancock Life Insurance Company (U.S.A.), effective October 7, 2014, p. 24)
    41
         Eric Romano Deposition, 17:12-13. (“Todd and I are 50/50 partners in Romano Law, PL.”)
    42
         Eric Romano Deposition, 50:20-25, 54:4-11.
    43
     Eric Romano Deposition, Exhibit 6 (The Pension Studio, Romano & Romano 401(k) Profit Sharing Plan 2014
    SH3% and ERPS, May 22, 2014, ROMANO-000121-126 at 126).
    44
      Deposition of Todd Romano, June 17, 2021 (“Todd Romano Deposition”), Exhibit 59 (Recordkeeping Agreement
    prepared for Romano & Romano 401(k) Profit Sharing Plan by John Hancock Life Insurance Company (U.S.A.),
    June 18, 2014, ROMANO-000028-049 at 037-042); Eric Romano Deposition, Exhibit 15 (Group Annuity Contract
    for the Romano Law, PL 401(k) Plan by John Hancock Life Insurance Company (U.S.A.), effective October 7,
    2014, Separate Account B Rider); See also, Holden Deposition, 45:12-22.
    45
      Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano & Romano 401(k) Profit
    Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000028-049).


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               27.      As of year-end 2014, the Named Plaintiff Plan had nine participants with account

    balances and $128,146 in total plan assets.46 As of year-end 2020, the Named Plaintiff Plan had

    nine participants with account balances and $1,225,296 in total plan assets, of which Eric and

    Todd Romano held 63 percent.47 Throughout the Proposed Class Period, Mr. Christian Searcy,

    the Named Plaintiffs’ “family friend”,48 was retained as the advisor for the Named Plaintiff Plan,

    and The Pension Studio was retained as the third-party administrator (“TPA”).49


               E.       Foreign Tax Credits

               28.      It is my understanding and my experience in reviewing insurance company

    documentation on behalf of various clients, that insurance companies, like John Hancock, are

    allowed foreign tax credits for foreign taxes paid by investments (mutual funds, for example)

    that have invested at least 50 percent of assets in foreign equities and have elected to “pass

    through” foreign tax credits to shareholders.50 Specifically, the Internal Revenue Service states

    “[a shareholder] may be able to claim the credit based on [their] share of foreign income taxes

    paid by the fund if [the mutual fund] chooses to pass the credit on to its shareholders.”51 For

    example, the portfolio of the Templeton Global Bond Fund is composed of nearly 80 percent of

    holdings outside of the U.S., and it elected to pass through to its shareholders the foreign taxes




    46
         Romano Law, PL 401(k) Plan Form 5500, 2014.
    47
      The closing balance reported for Eric Romano and Todd Romano was $387,326.58 and $382,162.90, respectively.
    (John Hancock, Employer Financial Statement Year-to-Date: Jan/01/2020 to Dec/31/2020 for the Trustees of
    Romano Law, PL 401(k) Plan, Contract No. 115534, pp. 11-12, 15.)
    48
      Mr. Searcy was first at UBS and later Pursuit Wealth Management. See, Deposition of Christian Searcy, June 22,
    2021 (“Searcy Deposition”), 48:2-12, 30:2-31:12.
    49
         Searcy Deposition, 131:7-132:8.
    50
       See, e.g., Goldman Sachs Asset Management, “Goldman Sachs Funds: Tax Guide for 2020,” 2020, p. 6, available
    at: https://www.gsam.com/content/dam/gsam/pdfs/us/en/tax-information/tax_guide.pdf?sa=n&rd=n.
    51
      Internal Revenue Service, “Foreign Taxes that Qualify for the Foreign Tax Credit,” available at:
    https://www.irs.gov/individuals/international-taxpayers/foreign-taxes-that-qualify-for-the-foreign-tax-credit.


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    and foreign tax credits with respect to foreign taxed transactions involving those holdings.52

    Thus, as the owner of the Separate Account and underlying sub-account, and hence, shareholder

    of the Templeton Global Bond Fund, John Hancock was allowed foreign tax credits as a result of

    foreign taxes paid by the mutual fund from 2013 through 2018.53

            29.      In contrast to annuity-based recordkeeping platforms, where the insurance

    company is the owner of the underlying assets and would pay U.S. income taxes and may be

    allowed foreign tax credits that reduce its U.S. income taxes (relative to not being allowed the

    credit), it is my understanding that trusts established for retirement plans operating on trust-based

    recordkeeping platforms do not pay U.S. income taxes. Because the trusts established for tax-

    qualified retirement plans are not subject to U.S. income taxes, they do not have any U.S. income

    taxes against which to offset the foreign taxes. This arrangement also applies to other forms of

    tax-qualified accounts, such as individual IRA accounts and rollover IRAs.54




    52
     See, e.g., John Hancock, “Asset Manager Profiles: Templeton Global Bond Fund,” July 2021, JH-
    ROMANO_043165-171 at 168.
    53
      Deposition of Xin Wang, May 11, 2021 (“Wang Deposition”), 115:15-21; Wang Deposition, Exhibit 18,
    JH_Romano_038562; Wang Deposition, Exhibit 19, JH_Romano_038563; Wang Deposition, Exhibit 20,
    JH_Romano_038564; Wang Deposition, Exhibit 21, JH_Romano_038565; Wang Deposition, Exhibit 22,
    JH_Romano_038566; Wang Deposition, Exhibit 23, JH_Romano_038567.
    54
      See, e.g., Zoll, Adam, “A Taxing Dilemma: Foreign Investments and Your Retirement Account,” Morningstar,
    March 1, 2013, available at: https://www.morningstar.com/articles/587000/a-taxing-dilemma-foreign-investments-
    and-your-retirement-account.


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    IV.         Proposed Class Members, Who Are Responsible for Selecting Their Plans’
                Recordkeeper, Could Have Obtained Information on John Hancock’s Allowance of
                Foreign Tax Credits If They Had Deemed Such Information Relevant to Their
                Investment Decision-Making

                A.       Information on John Hancock’s Allowance of Foreign Tax Credits Could
                         Have Been Obtained Through Direct Inquiries with John Hancock or From
                         Investment Product Prospectuses

                30.      Plaintiffs in this matter claim that John Hancock failed to “disclose its receipt and

    retention of the Plan Foreign Tax Credits in the [GVAC] or its ERISA 408(b)(2) disclosure

    statements,”55 recordkeeping agreements with Plans, and “standardized disclosures disseminated

    to Plans and their participants.”56 However, in my experience, to the extent a plan sponsor or

    plan advisor is interested in obtaining information specific to foreign tax credits, the plan sponsor

    or plan advisor would generally make direct inquiries with the recordkeepers’ sales

    representatives or other designated representatives (implementation consultant or account

    manager, for example). In addition to such inquiries, as I will discuss below, information on

    foreign tax credits is also disclosed in investment product prospectuses.57

                31.      In my experience, plan advisors are typically aware that some investments may

    pay foreign taxes and that insurance companies may be allowed foreign tax credits. To qualify




    55
         Complaint, ¶ 36.
    56
         Plaintiffs’ Motion for Class Certification, p. 6.
    57
      For example, John Hancock directs plan sponsors to “call … to obtain the Fund Sheet for the group annuity
    investment option sub-accounts and/or to obtain a prospectus … for the sub-accounts’ underlying fund, that are
    available on request. The prospectuses … for the sub-accounts’ underlying funds contain complete details on
    investment objectives, risks, fees, charges and expenses as well as other information about the underlying funds
    which should be carefully considered before investing.” (John Hancock Retirement Plan Services, “Important
    information for Plan Sponsors,” 2018, JH-ROMANO_037948-954 at 954.) See also, Franklin Templeton
    Investments, Form N-CSR of the Templeton Income Trust, August 31, 2015, p. 52; Franklin Templeton
    Investments, Form N-1A of the Templeton Income Trust, December 24, 2014, at ‘Investments in foreign securities’.


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    as investment advisors, plan advisors are generally registered with the SEC58 and are required to

    pass tests administered by FINRA demonstrating knowledge of various investments available in

    the marketplace, including the implications of foreign taxes on those investments.59 Mr. Searcy,

    for example, testified that he became aware of foreign tax credits through his education and

    financial certifications.60 Based on my nearly 40 years of experience as a consultant and

    investment advisor to various types of retirement plans, it is my opinion that to the extent a plan

    advisor has questions about whether a recordkeeper is allowed foreign tax credits for foreign

    taxes paid, or more generally how a recordkeeper accounts for certain fees or revenues, it is

    common for them to make inquiries directly with the recordkeeper’s sales representative or

    designated account manager. For example, if information on the foreign tax credits associated

    with international investments which pay foreign taxes becomes relevant to my evaluation of a

    recordkeeper, which it has not, I would make similar inquiries with the recordkeeper’s sales

    representative or account manager, and/or review relevant documentation specific to foreign tax

    credits.




    58
      “Investment advisers generally are regulated by the SEC or state securities authorities. The SEC typically
    regulates investment advisers that have assets under management in excess of $100,000,000. Investment advisers
    that do not meet this threshold generally are regulated by the states.” (Securities and Exchange Commission,
    “Investment Adviser Public Disclosure,” available at: https://adviserinfo.sec.gov/.) Mr. Searcy, for example,
    through his company Pursuit Wealth Management, LLLP, is an SEC-registered investment advisor. (Deposition of
    Melanie Martinez McDonald, July 7, 2021 (“Martinez Deposition”), Exhibit 134 (Pursuit Wealth, Form ADV Part
    2A Brochure, August 27, 2020, CDSJR00409-437 at 430).)
    59
      See, e.g., FINRA, “Investment Advisers,” available at: https://www.finra.org/investors/learn-to-invest/choosing-
    investment-professional/investment-advisers; FINRA, “Qualification Exams,” available at:
    https://www.finra.org/registration-exams-ce/qualification-exams.
    60
      Searcy Deposition, 169:22-170:11. (“Q. When did you first come to that understanding [of foreign tax credits], if
    you remember? A. Hard to say for certain because I don’t remember all the classes I took, but I would guess in one
    of my two financial accounting classes, either undergrad or MBA, would probably be the first time that I may have
    run into the term or the concept. … I can’t say for certain, but it definitely could have come up during either the CFP
    [Certified Financial Planner] or CPWA [Certified Private Wealth Advisor] when it comes to the taxes and retirement
    planning sections.”)


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               32.      Consistent with my experience, Mr. Bruce Cobey, Regional VP of Retirement

    Plan Services at John Hancock, testified in deposition that Mr. Searcy, who advised the Named

    Plaintiff Plan, reached out to John Hancock to inquire about whether John Hancock provides fee

    concessions in connection with the foreign tax credits John Hancock is allowed against foreign

    taxes paid.61 Further, deposition testimony also supports that Mr. Searcy reached out to various

    other recordkeepers to obtain similar information about their platforms and to better understand

    foreign tax credits.62

               33.      In addition to making direct inquiries with recordkeeping sales representatives or

    other service provider personnel, information on foreign tax credits is disclosed in prospectuses

    of the underlying mutual funds of each John Hancock sub-account. These mutual fund

    prospectuses, which are issued by the managers of each mutual fund and can be accessed or

    requested by Proposed Class Members and Proposed Class Advisors,63 disclose whether and how

    much in foreign taxes the underlying mutual fund paid. For example, the 2015 prospectus of the

    Templeton Global Bond Fund, a fund that was available on the Named Plaintiff Plan lineup

    throughout the Proposed Class Period,64 reported a “Foreign Tax Paid” of $0.0102 per share and

    stated that “[a]t August 31, 2015, more than 50% of the Fund’s total assets were invested in




    61
      Deposition of Bruce Cobey, May 4, 2021 (“Cobey Deposition”), 74:9-22. (“I had a conversations with Christian
    that that was the case, that we do not credit foreign tax credits.”)
    62
         Searcy Deposition, 177:4-14.
    63
      See, e.g., 30(b)(6) Deposition of Bonnie Deodat Hamilton, July 19, 2021 (“Hamilton 30(b)(6) Deposition”),
    85:24-86:12, 87:2-19, 91:14-92:15, 107:20-108:12; John Hancock Retirement Plan Services, “Important information
    for Plan Sponsors,” 2018, JH-ROMANO_037948-954 at 954.
    64
      See, e.g., Statement of Assets and Liabilities of the Sub-Accounts of John Hancock Life Insurance Company
    (U.S.A.) for Contract # 115534, the Trustees of Romano Law, PL 401(k) Plan, 2014-2018: JH-ROMANO_041236-
    249, JH-ROMANO_041250-264, JH-ROMANO_041265-282, JH-ROMANO_041283-306, JH-
    ROMANO_041307-332; Email from Katy Norusis to Eric Romano et al. re: 404a-5 Notice (re 401k), ROMANO-
    000269-290 at 279.


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    securities of foreign issuers.”65 Additionally, I note that Mr. Searcy’s UBS and Fi360

    monitoring reports for the Named Plaintiff Plan noted that fund prospectuses “are available by

    contacting your financial consultant.”66 To the extent Proposed Class Members would have

    deemed information on foreign tax credits to be relevant to their investment decision-making

    processes, it would have been incumbent on Proposed Class Members, who are responsible for

    selecting their Plan’s investment options, and Proposed Class Advisors who assist them, to

    review disclosure documents and agreements for plan services, including these prospectuses.

             34.       Contrary to Plaintiffs’ assertion, based on my experience, I find John Hancock’s

    disclosures consistent with the disclosures of other recordkeepers operating in the same capacity.

    I have not encountered any recordkeepers who have provided the additional disclosures that

    Plaintiffs call for in their GVACs, recordkeeping agreements, 408(b)(2) Statements, or other plan

    documents. While the GVAC states that John Hancock “uses all revenue received from the

    underlying mutual fund … to reduce the [Administrative Maintenance Charge] for the Sub-

    account,”67 in my experience, the term, “revenue” referenced in this statement is commonly used



    65
      The 2015 prospectus of the Templeton Global Bond Fund reports “a detailed analysis of foreign tax paid, foreign
    source income, and foreign source qualified dividends as reported by the Fund.” The information provided includes
    by share class, the per share amounts of foreign tax paid and foreign source income. (Franklin Templeton
    Investments, Form N-CSR of the Templeton Income Trust, August 31, 2015, at Templeton Global Bond Fund, pp.
    38, 52.)
    Similarly, the Registration Statement of the Templeton Income Trust, which includes the Templeton Global Bond
    Fund, notes that “[u]nder certain circumstances, the Fund may elect to pass-through foreign tax credits to
    shareholders, although it reserves the right not to do so.” In addition, the registration statement outlines that “[t]he
    Fund may be subject to foreign withholding taxes on income or gains from its investments in certain foreign
    securities. If more than 50% of the Fund’s total assets at the end of a fiscal year is invested in foreign securities, the
    Fund may elect to pass through to you your pro rata share of the foreign taxes paid by the Fund. Both the Fund and
    you must meet certain holding period requirements in order for you to claim a credit for foreign taxes on foreign
    source dividends.” (Franklin Templeton Investments, Form N-1A of the Templeton Income Trust, December 24,
    2014, at ‘Investments in foreign securities’.)
    66
     See, e.g., Fi360, Monitoring Report Prepared for Romano Law Group, July 21, 2020, CDSJR00307-356 at 307;
    UBS DC Report for Romano Law Group, January 15, 2019, UBS00006354-396 at 382.
    67
     Eric Romano Deposition, Exhibit 15 (Group Annuity Contract for the Romano Law, PL 401(k) Plan by John
    Hancock Life Insurance Company (U.S.A.), effective October 7, 2014, at Separate Account Details, p. 2).


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    and understood by retirement industry professionals, including plan advisors, recordkeepers,

    other service providers, and plan sponsors, to refer to revenue sharing payments, including 12b-1

    fees or sub-transfer agency fees, that investment management companies may pay to John

    Hancock. Based upon my knowledge of industry custom and usage, the “revenues” referenced

    in this statement are unrelated to foreign tax credits.

                35.      Plaintiffs’ specific claim that John Hancock did not “disclose its receipt and

    retention of the Plan Foreign Tax Credits in … its ERISA 408(b)(2) statements”68 also reflects a

    misunderstanding of the purpose of 408(b)(2) statements. Introduced to address concerns over

    fee transparency and conflicts of interest, 408(b)(2) disclosures are intended to provide

    comprehensive disclosures on direct compensation (such as the charges deducted from

    participant accounts) and indirect compensation (such as investment revenue used towards plan

    costs) received by service providers with respect to services provided to plans, such as

    recordkeepers.69 In my experience, retirement industry professionals, including plan advisors,

    recordkeepers, other service providers, and plan sponsors, do not consider foreign tax credits to

    be direct or indirect compensation received by service providers and hence, do not expect service

    providers to disclose their “receipt and retention” in 408(b)(2) disclosures. In my regular course

    of business, I have reviewed and analyzed hundreds of 408(b)(2) disclosures across more than 20

    recordkeepers — none have explicitly referenced foreign taxes or foreign tax credits.

                36.      Based on my experience as an administrative services provider, retirement plan

    consultant, and investment consultant, as well as my review of depositions taken in this matter




    68
         Complaint, ¶ 36; see also, Plaintiffs’ Motion for Class Certification, p. 8.
    69
      Department of Labor, “Final Regulation Relating to Service Provider Disclosures Under Section 408(b)(2),”
    February 2012, available at: https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-
    center/fact-sheets/final-regulation-service-provider-disclosures-under-408b2.pdf.


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    and public disclosures that were accessible to Proposed Class Members and Proposed Class

    Advisors, it is my opinion that Proposed Class Members or Proposed Class Advisors could have

    obtained information on John Hancock’s allowance of foreign tax credits if they had deemed

    such information relevant to their investment decision-making.


               B.       Proposed Class Members, Not John Hancock, Are Responsible for Selecting
                        Their Plan Recordkeeper and Plan Investment Options

               37.      Consistent with my experience with how recordkeepers in the marketplace

    operate, John Hancock provides the menu of available services and investment options from

    which each Proposed Class Member (and Proposed Class Advisor, if applicable) – who have

    chosen John Hancock as their recordkeeper – selects. As is typical across the industry, John

    Hancock does not have any discretionary authority or control over how each Proposed Class

    Member manages or selects the services to be received by each Proposed Class Plan.70 For

    example, as explained by Keith Holden (VP and Head of Retirement Platform Development and

    Management for North America at John Hancock), while John Hancock “assume[s]

    responsibility” for the “day-to-day administration of the separate accounts,” John Hancock is

    “acting on instructions from plans and participants” and “execut[es] transactions as a result of

    that.”71 Similarly, recordkeeping agreement samples that I have reviewed in this case dated from




    70
       The recordkeeping agreements between each Proposed Class Member and John Hancock document the relative
    roles of the parties. Specifically, it states:
               …none of the services provided under this [recordkeeping] agreement are performed by John Hancock,
               its affiliates, or employees as a fiduciary (as that term is defined in ERISA) of the plan and its related
               trust…. The Plan trustee(s) shall retain the authority and responsibility for reviewing the plan documents,
               ensuring compliance with ERISA…, and instructing John Hancock accordingly. John Hancock will not
               have any discretionary authority or responsibility for the management or control of the separate accounts.
    (Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano & Romano 401(k) Profit
    Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000028-049 at 029).)
    71
         Holden Deposition, 17:20-23, 77:19-21, 79:13-16.


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    2016 to 2019 describe John Hancock’s sub-accounts as “conduit vehicle[s].”72 Hence, as the

    recordkeeper, John Hancock does not have discretion over which investment options Proposed

    Class Members (assisted by the Proposed Class Advisors, if applicable) select to offer, or how

    Plan participants allocate their assets across the available investment options offered on their

    respective Plan lineup.73

             38.      Consistent with this understanding, John Hancock does not require the Proposed

    Class Members to select for their Plan investment options associated with international

    investments that may pay foreign taxes. I have also seen no evidence of any attempt by John

    Hancock to encourage Proposed Class Members to select any international investment option,

    nor am I aware of instances where John Hancock inappropriately encouraged or recommended

    that plan participants allocate assets to international investment options. For example, the

    Named Plaintiffs (assisted by Mr. Searcy) selected the Templeton Global Bond Fund, a fund for

    which John Hancock was allowed foreign tax credits,74 for the Named Plaintiff Plan lineup.


    72
      See, e.g., Hamilton 30(b)(6) Deposition, Exhibit 104 (Recordkeeping Agreement prepared for Ho Test - Sample
    Case by John Hancock Life Insurance Company (U.S.A.), March 4, 2019, JH-ROMANO_000870-900 at 871). (“To
    the extent John Hancock maintains a sub-account(s) in which the Plan invests, each such sub-account serves solely
    as a conduit vehicle … John Hancock is a limited fiduciary with respect to the sub-account for the exclusive
    purposes of holding Plan assets in such sub-account(s) … Otherwise, John Hancock shall act in a non-discretionary
    capacity and shall act only in accordance with directions from trustee(s), participants and beneficiaries, as provided
    in this agreement, the contract and the supplementary documents.”) See also, Hamilton 30(b)(6) Deposition, Exhibit
    102 (Recordkeeping Agreement prepared for Sample Client by John Hancock Life Insurance Company (U.S.A.),
    September 6, 2017, JH-ROMANO_000746-775 at 747); Hamilton 30(b)(6) Deposition, Exhibit 101 (Recordkeeping
    Agreement prepared for John Hancock Sample Case by John Hancock Life Insurance Company (U.S.A.), December
    22, 2016, JH-ROMANO_000612-639 at 613); Hamilton 30(b)(6) Deposition, Exhibit 99 (Recordkeeping
    Agreement prepared for John Hancock Sample Case by John Hancock Life Insurance Company (U.S.A.), March 7,
    2016, JH-ROMANO_000551-577 at 552).
    73
       John Hancock, “Retirement Plans,” available at: https://retirement.johnhancock.com/us/en/retirement-
    products/retirement-plans. (“John Hancock Retirement Plan Services, LLC, John Hancock Life Insurance Company
    (U.S.A.), and John Hancock Life Insurance Company of New York each make available a platform of investment
    alternatives to sponsors or administrators of retirement plans without regard to the individualized needs of any plan.
    Unless otherwise specifically stated in writing, each such company does not, and is not undertaking to, provide
    impartial investment advice or give advice in a fiduciary capacity.”)
    74
     Wang Deposition, Exhibit 18, JH_Romano_038562; Wang Deposition, Exhibit 19, JH_Romano_038563; Wang
    Deposition, Exhibit 20, JH_Romano_038564; Wang Deposition, Exhibit 21, JH_Romano_038565; Wang
    Deposition, Exhibit 22, JH_Romano_038566; Wang Deposition, Exhibit 23, JH_Romano_038567.


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    Moreover, it was the decision of individual Named Plaintiffs Plan’s participants to determine

    whether to allocate assets to the Templeton Global Bond Fund.75 As recordkeeper, John

    Hancock has no role in these plan sponsor and participant-specific investment decisions. In my

    experience I have not encountered a recordkeeper, functioning in the same capacity as John

    Hancock with respect to Plans on the Signature Platform, that had discretion over the investment

    options offered on individual plan lineups, or how participant assets are allocated across

    investment options.76 As described above, the 2014 Recordkeeping Agreement between the

    Named Plaintiff Plan and John Hancock states that “John Hancock will not have any

    discretionary authority or responsibility for the management or control of the separate

    accounts.”77

             39.      In contrast to the recordkeeper’s (John Hancock, for example) role and consistent

    with industry practices,78 documents in this matter state that the Proposed Class Members (which

    include plan fiduciaries and trustees) are responsible for selecting their Plan’s recordkeeper, their

    Plan’s underlying investment options, and establishing the administrative fee arrangement




    75
     Statement of Assets and Liabilities of the Sub-Accounts of John Hancock Life Insurance Company (U.S.A.) for
    Contract # 115534, the Trustees of Romano Law, PL 401(k) Plan, 2014-2018: JH-ROMANO_041236-249, JH-
    ROMANO_041250-264, JH-ROMANO_041265-282, JH-ROMANO_041283-306, JH-ROMANO_041307-332.
    76
      This excludes instances in which recordkeepers, such as Alight or Fidelity, for example, provide managed
    accounts services (in addition to recordkeeping services) to plans, whereby the recordkeeper explicitly agrees to
    direct the participant assets.
    77
      Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano & Romano 401(k) Profit
    Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000028-049 at 029).
    78
       To this point, publications by the Department of Labor and Internal Revenue Service state that plan fiduciaries are
    responsible for, among other things, understanding the terms of their plan, as well as selecting and monitoring
    service providers. (Department of Labor, “Fiduciary Education Campaign - Getting It Right - Know Your Fiduciary
    Responsibilities,” available at: https://www.dol.gov/agencies/ebsa/employers-and-advisers/plan-administration-and-
    compliance/fiduciary-responsibilities/fiduciary-education-campaign; Internal Revenue Service, “A Plan Sponsor’s
    Responsibilities,” available at: https://www.irs.gov/retirement-plans/plan-sponsor/a-plan-sponsors-responsibilities;
    Department of Labor, “Meeting Your Fiduciary Responsibilities,” September 2020, available at:
    https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/publications/meeting-your-
    fiduciary-responsibilities.pdf.)


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    through which their Plan will pay for the services it selects to receive.79 To further inform their

    investment decisions, many plan fiduciaries and trustees may undertake fiduciary training,

    receive investment education, or participate in retirement and investment seminars, many of

    which are often offered by the providers themselves or the Proposed Class Advisors. Because

    GVACs are required to be sold through registered broker-dealers and investment advisors,

    Proposed Class Members are often, if not always, aided in their decision-making by investment

    professionals, who have passed FINRA-administered tests, and have demonstrated knowledge of

    investments.80 It is the duty and responsibility of these Proposed Class Advisors, who are either

    paid from the assets of the Plan (and by extension from the accounts of plan participants) or

    directly by retirement plan sponsors, to help Proposed Class Members, among other things,

    navigate the marketplace for recordkeeping services, negotiate with service providers, as well as

    evaluate, select, and monitor recordkeeping services and investment options. Regardless of each

    Proposed Class Advisor’s role, it is also the responsibility of the Proposed Class Members, such

    as the Named Plaintiffs, for “selecting the investment providers and the investment options, and

    for monitoring their performance.”81



    79
      For example, the recordkeeping agreement between John Hancock and the Named Plaintiff Plan shows that John
    Hancock requires each Proposed Class Member to affirmatively agree to select and monitor funds for their
    respective Plans, and to select the Plan lineup from among all the investment options John Hancock offers on its
    platform. See, e.g., Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano &
    Romano 401(k) Profit Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-
    000028-049 at 037-042).
    80
       See, e.g., FINRA, “Investment Advisers,” available at: https://www.finra.org/investors/learn-to-invest/choosing-
    investment-professional/investment-advisers; FINRA, “Qualification Exams,” available at:
    https://www.finra.org/registration-exams-ce/qualification-exams. Generally, in my experience, plan sponsors and
    fiduciaries of small plans typically receive assistance from professional advisors. For example, a 2017 study
    published by Alliance Bernstein reports that among the approximately 600 plans surveyed with less than $50 million
    in assets (including 202 plans with less than $1 million in assets), over 80 percent use a financial advisor. (Alliance
    Bernstein, “Inside the Minds of Plan Sponsors,” 2017, pp. ii, 15, available at:
    https://www.alliancebernstein.com/investments/us/retirement/resources/pdf/FINAL_DCI-6150-1117.pdf.)
    81
      Department of Labor, “What You Should Know About Your Retirement Plan,” p. 25, available at:
    https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/publications/what-you-should-
    know-about-your-retirement-plan.pdf.


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               40.     While there is substantial variation among plan sponsors with respect to the extent

    to which they rely on plan advisors, Proposed Class Advisors, such as Mr. Searcy, can and

    typically do have a significant influence on the processes Proposed Class Members undertake to

    select recordkeepers, investment options, and service features. For example, the Named

    Plaintiffs relied heavily on the advice of Mr. Searcy,82 and testified that they were not “savvy

    investors”,83 did not receive fiduciary training,84 are unaware of international investments on the

    Plan’s lineup,85 and “don’t recall ever seeing a review of any international funds.”86 In some

    instances, while the Proposed Class Members are ultimately responsible for making selection

    decisions, Proposed Class Advisors, like Mr. Searcy, can recommend that a Proposed Class

    Member select John Hancock as its Plan recordkeeper. Likewise, a Proposed Class Advisor who

    considers it important to offer Plan participants exposure to international securities would advise

    the Proposed Class Member to offer one or more international funds on the Plan lineup.

               41.     Given the respective roles of John Hancock and Proposed Class Members (who

    are assisted by Proposed Class Advisors), to the extent a Proposed Class Member and/or a

    Proposed Class Advisor would have deemed foreign tax credits to be important, that Proposed

    Class Member (with their Proposed Class Advisor) has discretion to: (1) select a different




    82
      Todd Romano Deposition, 152:12-154:2. (“Again, we placed a lot of trust and reliance on Christian for his
    recommendations when it came to investment decisions.”)
    83
         Todd Romano Deposition, 39:12-15.
    84
       Todd Romano Deposition, 11:17-18, 109:16-25. (“Q. When you became a trustee of the 401(k) plan, did you get
    trained on what your duties were as a trustee of the plan? A. Specific training, nothing that I can recall. Again, we
    place a lot of reliance on Christian Searcy to help us make decisions that are best for our plan. Q. Did you take any
    steps to educate yourself, to make sure you knew and understood your fiduciary responsibilities with respect to the
    plan? A. No specific steps that I can recall, no.”)
    85
      Todd Romano Deposition, 238:18-20. (“Q. Do you have funds in international investments in the lineup in your
    Fidelity plan? A. I don’t know off the top of my head.”)
    86
         Todd Romano Deposition, 259:1-10.


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    recordkeeper whose allowance of foreign tax credits is aligned with the Proposed Class

    Member’s preferences; or (2) select investment options that do not pay foreign tax credits.


    V.     Based on My Experience, It Is My Opinion that Additional Disclosures of John
           Hancock’s Allowance of Foreign Tax Credits Would Not Have Affected How Many
           Proposed Class Members and Proposed Class Advisors Evaluated Recordkeepers
           and Investment Options

           42.     In my nearly 40 years of experience working with retirement plans, I have never

    experienced, nor have I been aware of, foreign tax credits being relevant to the evaluations of

    recordkeepers or investment options for retirement plans. Instead, as I describe below, there are

    a multitude of factors and considerations that influence whether a recordkeeper or investment

    options available from that recordkeeper are appropriate for a plan, including the types and

    quality of administrative services offered by a recordkeeper, the overall fee for these services,

    and the asset-class exposure (diversification) provided by the investment options available to the

    plan sponsor. Based on my experience, it is my opinion that for many Proposed Class Members

    and Proposed Class Advisors, additional disclosures of foreign tax credits would not have

    affected their decision to select and retain John Hancock as recordkeeper or their decision to

    select and retain investment options for their respective Plans.


           A.      Foreign Tax Credits Are Not Among the Various Factors Plan Sponsors and
                   Plan Advisors Typically Consider in their Evaluation of Plan Recordkeepers

           43.     In my nearly 40 years of experience working in the retirement plan industry, I

    have not encountered any plan sponsors or plan advisors that considered foreign tax credits in

    their evaluations of recordkeepers. As I discuss below, additional disclosures of foreign tax

    credits would not have affected the types and quality of the administrative services provided by

    recordkeepers, the service needs of plan sponsors and plan participants, and the overall fee for

    these services. For these reasons, it is my opinion that additional disclosures would not have


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    affected how many Proposed Class Members and Proposed Class Advisors evaluated

    recordkeepers, or how they negotiated and established recordkeeping agreements with John

    Hancock. By focusing solely on John Hancock’s disclosure of its allowance of foreign tax

    credits, Plaintiffs ignore the numerous other factors that plan sponsors and plan advisors of

    defined contribution plans typically consider and prioritize in their evaluation and selection of

    plan recordkeepers.


                   1.      Plan sponsors and plan advisors typically focus their evaluation of
                           recordkeepers on the types and quality of administrative services
                           recordkeepers offer and the overall fee for these services

           44.     As discussed above in Section III.B., the primary role of recordkeepers of

    retirement plans is to provide various administrative services, such as, but not limited to,

    maintaining the account balances of plan participants, providing for the safekeeping of plan

    assets, processing transactions on behalf of plan participants and plan sponsors, maintaining and

    managing plan data, and providing compliance services and investment education. While plans

    vary substantially in how they evaluate and prioritize the various types of services a recordkeeper

    may provide, plan sponsors and plan advisors tend to focus their evaluations on whether the

    types and quality of administrative services offered by a recordkeeper and the overall fee for

    these services align with their plan’s, and by extension their plan participants’, specific needs. In

    my experience, the disclosures that a recordkeeper does or does not provide about foreign tax

    credits allowed has no bearing on the level and quality of recordkeeper services. Given my

    experience with and observations on how plan sponsors and plan advisors of retirement plans

    evaluate recordkeepers, it is my opinion that additional disclosures of John Hancock’s allowance

    of foreign tax credits would not have affected how many Proposed Class Members and Proposed

    Class Advisors evaluated John Hancock’s recordkeeping services.



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             45.      It is my experience that plan sponsors (and plan advisors, if applicable) focus their

    evaluation on recordkeeping services and features that relate to the day-to-day operations of a

    retirement plan including (but not limited to): the availability of automatic enrollment provisions

    and other added features (e.g., automatic contribution escalation), the accuracy and efficiency of

    administrative processing, functionality and ease of use of participant websites, effectiveness of

    employee communications and investment education, timely and comprehensive compliance and

    testing services, useful and timely produced plan sponsor reports, effective participant reporting

    and messaging, access to emerging technologies, availability of a broad range of investment

    alternatives, consistent levels of relationship management that support the goals and objectives

    of the plan sponsor, the ability on the part of the provider to improve retirement income

    outcomes for participants, and fees.87 Plan sponsors (and plan advisors, if applicable) also

    generally value and consider the reputation of the recordkeeper. It is my experience that a

    recordkeeper’s disclosure of its allowance of foreign tax credits, which does not directly affect

    how a recordkeeper carries out its day-to-day operations, would not have been considered by

    plan sponsors (and plan advisors, if applicable) in their evaluation of a recordkeeper.

             46.      Plan sponsors (and plan advisors, if applicable) vary in terms of how they

    prioritize the various administrative services offered by recordkeepers. The administrative

    support a retirement plan requires varies substantially from plan to plan and those individualized

    needs often determine the types of recordkeeping and administrative services plan sponsors (and

    plan advisors, if applicable) prioritize during their recordkeeper search. In my experience, the



    87
      For example, according to the 2019 Deloitte Defined Contribution Benchmarking Survey, plan sponsors who have
    had a recordkeeping change within the last five years identified “[o]verall cost to plan” (25 percent), “[q]uality of
    recordkeeping services” (21 percent), and “[o]verall relationship” (17 percent) as the top three most important
    factors considered. (Deloitte, “The Retirement Landscape Has Changed–Are Plan Sponsors Ready?” 2019, p. 26,
    available at: https://www2.deloitte.com/content/dam/Deloitte/us/Documents/human-capital/us-2019-defined-
    contribution-benchmarking.pdf.)


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    factors that often affect a plan’s administrative servicing needs and preferences include, among

    other things, the complexity of plan provisions and features, the size of a plan, number of

    participants, employee hiring activity, organizational complexity of the plan sponsor, the ability

    on the part of the plan sponsor to support the plan, the demographics of plan participants (e.g.,

    average age, turnover percentages, compensation rates, and payroll frequency), and the level of

    investment knowledge on the part of plan participants and the plan sponsor. It is well-recognized

    in the retirement industry that selecting and retaining a recordkeeper that best addresses a plan’s

    specific needs may entail making trade-offs between services and features that the plan sponsors

    may desire, and the fees for such services. For example, guidance provided by the Department

    of Labor to plan sponsors for evaluating service providers states that “cheaper is not necessarily

    better” and that “generally the more services provided, the higher the fees.”88 In my experience,

    it common for plan sponsors (and plan advisors, if applicable) to select and retain a recordkeeper

    that can address their plans’ needs and preferences even though another recordkeeper may offer

    somewhat lower fees. For example, documentary evidence shows that in evaluating potential

    recordkeepers in 2020, the Named Plaintiffs and Mr. Searcy placed a premium on certain

    recordkeeping services and qualities, (i.e., access to a variety of investment options and easy-to-




    88
      Department of Labor, “A Look at 401(k) Plan Fees,” September 2019, pp. 1-3, available at:
    https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/publications/a-look-at-401k-
    plan-fees.pdf.


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    use participant interface) and knowingly selected a recordkeeper (Fidelity) that would provide

    such services over proposals submitted by other lower-fee recordkeepers (OneAmerica).89

             47.      It is my experience that John Hancock is particularly popular with start-up plans

    because it frequently waives contribution minimums (which benefits small and start-up plans

    with low assets), is a well-recognized brand name with sufficient scale, offers a large menu of

    investment options from which plan sponsors can select, and provides easy-to-understand

    participant education materials. In addition, John Hancock will often collaborate with third-party

    administrators (TPAs) that provide additional administrative and compliance support for

    retirement plan sponsors. Consistent with my experience, a representative of the Pension Studio,

    the Named Plaintiff Plan’s TPA, suggested John Hancock in response to Mr. Searcy’s request for

    recommendations of a recordkeeper that would be a “good fit for a startup [plan],” because John

    Hancock has “low annual addition[al] requirements.”90 Based on my experience, I expect that

    for many Proposed Class Members, the benefits of John Hancock’s services, including its

    willingness to accommodate start-up plans, would have outweighed any benefits that additional

    disclosures of John Hancock’s allowance of foreign tax credits would bring to their Plan.




    89
        For example, during the 2020 recordkeeper RFP process, Mr. Searcy received two proposals from Fidelity: one
    that offered the Named Plaintiff Plan access to all investment options on its Fidelity’ platform for 52 bps, and one
    that offered the Named Plaintiff Plan access to proprietary Fidelity target date funds for 40 bps. Despite the
    availability of a lower fee option, Mr. Searcy only presented the Named Plaintiffs with the higher fee arrangement
    because he preferred access to a variety of investment options. (Searcy Deposition, 150:4-18.) As part of the same
    RFP process, the Named Plaintiffs selected Fidelity over OneAmerica despite the fact that Fidelity’s total
    recordkeeper fees were approximately 7 bps higher then OneAmerica’s based on the rationale that “the increased
    technology (especially with the functioning ap [sic]) coupled with the single login integration and brand recognition
    [of Fidelity] outweigh the slight fee difference.” (Eric Romano Deposition, Exhibit 34 (Minutes of Investment
    Committee Meeting, Romano Law, PL 401(k) Plan, November 19, 2020, pp. 1-2).)
    90
      Email from Christian Searcy to Ellen Quinlan, RE: Romano Law Group, June 16, 2014, UBS00000764-765 at
    764.


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                      2.       The Request for Proposal processes retirement plans undertake to evaluate
                               recordkeepers do not typically consider foreign tax credits

             48.      The processes plan sponsors of defined contribution plans undertake to evaluate

    an administrative and recordkeeping service provider, such as John Hancock, vary from plan to

    plan. Many plans, in my experience, undertake a Request for Proposal (“RFP”) process, in

    which plan sponsors solicit proposals from a select group of recordkeepers that are deemed to be

    capable of meeting the servicing requirements of the plan sponsor and, by extension, the

    participants of the plan. For many plans, the process of selecting the firms to receive the RFP

    documents, and the more detailed processes associated with developing, distributing, evaluating,

    and presenting the results of the RFP to the plan sponsor, is often performed by the plan advisor

    (such as Mr. Searcy) who typically has an established understanding of the market for

    recordkeeping services. In some instances, plan sponsors, such as the Named Plaintiffs in 2014,

    may choose to forego an RFP process and instead rely on analysis conducted by, or

    recommendations provided by, plan advisors, such as Mr. Searcy, to inform their recordkeeper

    selection process.91 Regardless of a plan sponsor’s approach to evaluating how the various

    features, functionality, and fees offered by potential recordkeeping providers meet the specific

    needs and preferences of their plans,92 plan sponsors rarely, if ever, in my experience, consider

    foreign tax credits.




    91
      I have not seen any documentary evidence in this matter reflecting that the Named Plaintiffs or Mr. Searcy
    conducted an RFP process related to the selection of John Hancock as recordkeeper for the Named Plaintiff Plan in
    2014.
    92
       A Department of Labor guide on fiduciary responsibilities states that: “Hiring a service provider in and of itself is
    a fiduciary function. When considering prospective service providers, provide each of them with complete and
    identical information about the plan and what services you are looking for so that you can make a meaningful
    comparison.” (Department of Labor, “Meeting Your Fiduciary Responsibilities,” September 2020, available at:
    https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/publications/meeting-your-
    fiduciary-responsibilities.pdf.)


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            49.      Over the course of my career, I have performed over 160 RFPs specific to the

    administration and investment management of defined contribution retirement plans and have

    also participated, as a respondent, in various RFPs specific to recordkeeping services and

    retirement and investment consulting services. Throughout these projects, despite the general

    knowledge that investment options may pay foreign taxes, I have not conducted a single RFP on

    behalf of a retirement plan client that has requested information regarding a recordkeeper’s

    allowance of foreign tax credits. I have also not responded to an RFP where a plan sponsor has

    inquired about whether a recordkeeper is allowed foreign tax credits for foreign taxes paid.

            50.      Consistent with my experience, industry guidance on how to conduct a

    recordkeeper RFP does not reference foreign tax credits. Specifically, to assist plan sponsors

    (and plan advisors, if applicable) of defined contribution plans in conducting meaningful

    recordkeeper RFPs, industry organizations such as the Society of Professional Asset-Managers

    and Recordkeepers (“SPARK”) and the National Association of Plan Administrators (“NAPA”)

    issue templates which list various considerations that the respective organization deems relevant

    in the evaluation of a recordkeeper.93 The SPARK template, which is 69 pages long and

    addresses, among other things, specific transaction processing, communications and investment

    education, and compliance services, does not reference foreign tax credits. Likewise, the NAPA

    template, which lists over 100 qualities relative to a recordkeeping RFP process, also does not

    reference foreign tax credits.




    93
      The SPARK Institute, Inc., “Request for Proposal (RFP) Guide: Selecting Defined Contribution Plan Service
    Providers (4th Edition),” January 2018, available at:
    https://www.sparkinstitute.org/pdf/SPARK%20RFP%20Guide%204.0.pdf; National Association of Plan
    Administrators, “Recordkeeping Platform Assessment,” available at: https://www.napa-net.org/industry-
    intel/recordkeeping-platform-assessment.


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            51.      Even though foreign tax credits are not referenced in these industry templates, to

    the extent foreign tax credits were relevant to a plan sponsor or plan advisor, they could request

    that the recordkeeper provide such information in their custom-drafted RFPs. However,

    consistent with my experience, examples of publicly available RFPs that I identified through my

    research reflect that plan sponsors and plan advisors typically do not request, and therefore do

    not consider, information on whether a recordkeeper was allowed foreign tax credits. For

    example, RFPs issued by the Columbus Consolidated Government 457 Deferred Compensation

    Plan in March 24, 2021,94 the County of Fresno Deferred Compensation Plan in September 26,

    2019,95 and the State of Wisconsin Deferred Compensation Program in April 9, 202196 make

    detailed requests for information on how a recordkeeper’s system implements transactions,97 the

    type of information that will be included in participant communications and investment

    education materials,98 and the types of investment services a recordkeeper will provide.99 None

    of these RFP examples include references to foreign taxes or foreign tax credits.




    94
      Request for Proposals, RFP No. 21-0029, 457 Deferred Compensation Plan - Recordkeeping, Administrative and
    Participant Education (Annual Contract) issued by Columbus Consolidated Government, March 24, 2021.
    95
      Memorandum re: Recommendation of the Ad-Hoc Deferred Compensation Plan Record-keeper RFP
    Subcommittee, September 26, 2019.
    96
       Request for Proposal ETJ0061 Administrative Services for the Wisconsin Deferred Compensation Program,
    issued by the State of Wisconsin, April 9, 2021.
    97
      See, e.g., Request for Proposal ETJ0061 Administrative Services for the Wisconsin Deferred Compensation
    Program, issued by the State of Wisconsin, April 9, 2021, pp. 26-30.
    98
      See, e.g., Request for Proposals, RFP No. 21-0029, 457 Deferred Compensation Plan - Recordkeeping,
    Administrative and Participant Education (Annual Contract) issued by Columbus Consolidated Government, March
    24, 2021, pp. 23-25.
    99
      See, e.g., Memorandum re: Recommendation of the Ad-Hoc Deferred Compensation Plan Record-keeper RFP
    Subcommittee, September 26, 2019, pp. 27-33.


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                     3.      Foreign tax credits are not typically featured among the wide variety of
                             services that recordkeepers advertise

            52.      Recordkeepers offer and advertise a wide variety of services, which include, but

    are not limited to, custodial services that involve the safekeeping of plan assets, the collection of

    contributions from plan sponsors and participants, and the disbursement of benefits to plan

    participants. Recordkeepers may also offer and advertise various administrative or operational

    services (“administrative services”), including recordkeeping and transaction processing

    (crediting contributions to individual plan accounts; accounting for individual participant account

    balances by investment fund and contribution type; updating balances to reflect daily investment

    returns); data management (maintaining employee demographic data necessary to administer the

    plan); assistance with plan design and the preparation of required plan documents; assistance

    with evaluating the plan investment lineup, participation rates, participant servicing

    requirements, and other plan features; completion of plan amendments as necessary; approval

    and processing of individual participant transactions, annual compliance services (Form 5500

    filings and required participant and plan sponsor disclosures); discrimination testing;

    communications and investment education services; and consulting on matters related to issues

    specific to the plan sponsor or more broadly due to changes in legal and regulatory requirements.

            53.      I am only aware of one recordkeeper, Securian Financial (“Securian”), that

    advertises that “foreign tax credits are credited back to the separate accounts that generated

    them.”100 However, there are a number of reasons why plan sponsors select and retain (or do not

    select and retain) Securian that do not relate to the fee concessions for foreign tax credits that

    Securian provides. As described above, plan sponsors would typically evaluate Securian’s



    100
       Securian Financial, “Why Choose Securian Financial?” available at: https://www.securian.com/products-
    services/employers/retirement-plans/why-securian.html.


                                                          39
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    services more broadly, focusing on the quality, cost, and types of services offered. The fact that

    most recordkeepers do not advertise fee concessions for foreign tax credits indicates that most

    recordkeepers generally deem this feature to be irrelevant to retirement plan clients and/or that

    most recordkeepers generally do not provide fee concessions for foreign tax credits.

               54.      As of December 31, 2020, Securian serviced approximately 2,600 defined

    contribution plans,101 just a fraction of the nearly 850,000 defined contribution plans102 in the

    U.S., and just 5.2 percent of the number of defined contribution plans serviced by John Hancock

    and its affiliates as of the same date103—reflecting that approximately 99.7 percent of defined

    contribution plans in the U.S. found the services and fees offered by other recordkeepers to be

    more suitable than the services and fees that Securian offered, regardless of any benefits

    Securian may provide through additional disclosures of, or fee concessions for, foreign tax

    credits. For example, when asked why a client would choose a different recordkeeper over

    Securian, which offers fee concessions for foreign tax credits, Mr. Searcy responded that

    “[t]here’s technology advantages, brand recognition, you know, single log-on type things, things

    like that, that sometimes outweigh other factors like foreign tax credits.”104




    101
       PlanSponsor, “2021 Recordkeeping Survey: Securian Financial,” June 21, 2021, available at:
    https://www.plansponsor.com/research/2021-recordkeeping-survey/?pagesec=9&pid=41&pname=Securian-
    Financial#Providers.
    102
       PlanSponsor, “2021 Recordkeeping Survey: Industry Snapshot,” June 21, 2021, available at:
    https://www.plansponsor.com/research/2021-recordkeeping-survey/?pagesec=3#Industry%20Snapshot.
    103
       According to PlanSponsor’s 2021 Recordkeeping Survey, of the 845,522 defined contribution plans in the United
    States, John Hancock and its affiliates serve 49,603 plans while Securian serves 2,589 plans. (PlanSponsor, “2021
    Recordkeeping Survey,” June 21, 2021, available at: https://www.plansponsor.com/research/2021-recordkeeping-
    survey.)
    104
          Searcy Deposition, 191:20-192:4.


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           B.      Foreign Tax Credits Are Not Relevant Among the Various Factors Plan
                   Sponsors and Plan Advisors of Retirement Plans Typically Consider in their
                   Evaluation of Plan Investment Options, Including International Funds

           55.     As discussed above, like other recordkeepers, John Hancock has no discretion

    over which investment options Proposed Class Members choose to offer on their investment

    lineup. Rather, once a Proposed Class Member selects a recordkeeper and agrees to the level of

    administrative services to be provided and the fees for such services, they must then develop (in

    conjunction with the Proposed Class Advisor, if applicable) an investment lineup that would be

    consistent with the needs and preferences of their Plan participants. As part of this decision,

    Proposed Class Members and Proposed Class Advisors have discretion to determine how many,

    if any, international investment options that may pay foreign taxes to include on their Plan

    lineup. As I will discuss below, compared to the typical considerations plan sponsors and plan

    advisors of retirement plans undertake to assess whether an international investment option

    addresses the needs of plan participants, the disclosure of foreign tax credits is relatively

    insubstantial. Based on my experience, it is my opinion that additional disclosures of John

    Hancock’s allowance of foreign tax credits would not have been material to the processes many

    Proposed Class Members and Proposed Class Advisors undertake to evaluate investment options.


                   1.      While plan lineup design and investment option selection varies from plan
                           to plan, most, if not all, plans offer investment options that provide
                           participants exposure to international securities that may pay foreign taxes

           56.     Most, if not all, plans that I have worked with offer or have offered at least one

    international investment option that may pay foreign taxes. Indeed, in each year throughout the

    Proposed Class Period, Vanguard reports that “[v]irtually all [surveyed] plans [on Vanguard’s




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    trust-based recordkeeping platform] offered international equity funds.”105 BrightScope and the

    Investment Company Institute also report that as of 2018 (the last year for which data are

    available), 98.5 percent of audited plans offered an international equity fund, and 22.3 percent of

    audited plans offered an international bond fund.106 For example, one of the five individual

    funds offered by the Federal Thrift Savings Plan, the largest defined contribution plan in the

    U.S.,107 is an international stock index fund (“I Fund”).108 International investment options are

    ubiquitous among defined contribution plans, because they provide participants with the

    opportunity to diversify their portfolios with exposure to international securities, and reduce

    portfolio risk. As Vanguard explains: “[m]arkets outside the United States don’t always rise and

    fall at the same time as the domestic market, so owning pieces of both can level out some of the

    volatility in your portfolio.”109 However, while most, if not all, retirement plans offer

    international investment option(s), plan sponsors, with assistance from plan advisors, have

    discretion over the type, the number of, and specific international investment options to offer on

    their respective plan lineups.

               57.      As a general matter, in my experience, plan sponsors and plan advisors typically

    focus their plan lineup design and investment option selection on whether those investment

    options meet the investment needs and preferences of plan participants. This is particularly true



    105
       Vanguard reports that 97 percent of plans on the Vanguard recordkeeping platform offered an international equity
    fund. See, Vanguard, “How America Saves 2020,” pp. 60-61; Vanguard, “How America Saves 2014,” pp. 48-49.
    106
       BrightScope/ICI, “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018,”
    July 2021, p. 33.
    107
       Pension and Investments, “Defined Contribution Rankings by Assets,” available at:
    https://researchcenter.pionline.com/v3/rankings/plan-
    sponsors/datatable?adobe_mc=MCMID%3D02619879799699172531934419913317642811%7CMCORGID%3D1
    38FFF2554E6E7220A4C98C6%2540AdobeOrg%7CTS%3D1629303500.
    108
          Thrift Savings Plan, “Fund Information,” March 2021, pp. 1, 11-12.
    109
       Vanguard, “International investing,” available at:
    https://investor.vanguard.com/investing/investment/international-investing.


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    for participant-directed defined contribution plans. To address the varying needs of plans,

    recordkeepers vary in terms of the number and variety (i.e., in terms of asset classes, fund

    families, etc.) of investment options they offer on their recordkeeping platform. In this matter,

    John Hancock’s Signature Platform offered the Named Plaintiffs approximately 200 investment

    options to select for the Named Plaintiff Plan as of October 2014 (ranging from small cap equity

    funds and global bond funds to target date funds).110

               58.     In my experience, plan-specific participant demographics are typically used to

    inform investment menu design and decisions associated with specific fund selections. Some of

    these demographic factors that plan sponsors consider include the diversification of the

    participant population with respect to age, education levels, access to investment education and

    financial planning materials, and levels of participant engagement. Deposition testimony shows

    that such demographics were considered during the selection of investment options for the

    Named Plaintiff Plan. Eric Romano testified that, “[w]e discussed offering a wide range of

    investments so that, you know, we would have options to suit everybody’s needs. Our employees

    obviously have different goals and are at different stages in life.”111

               59.     This variation in plan investment needs translates to variations in how plan

    sponsors design their plan lineups to provide international exposure to their plan participants.

    For example, to the extent a plan’s participants are less comfortable in making investment

    decisions, plan sponsors (and plan advisors, if applicable) will commonly provide simple,

    diversified, and stand-alone investments, such as managed account services or target-date funds,


    110
       See, Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano & Romano 401(k)
    Profit Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000028-049 at
    037-042); Eric Romano Deposition, Exhibit 15 (Group Annuity Contract for the Romano Law, PL 401(k) Plan by
    John Hancock Life Insurance Company (U.S.A.), effective October 7, 2014, Separate Account B Rider); Holden
    Deposition, 18:19-19:2.
    111
          Eric Romano Deposition, 81:3-7.


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    which include international investment components by design. Alternatively, if plan participants

    are comfortable in making their own investment decisions, plan sponsors (and plan advisors, if

    applicable) may offer an array of international investment options associated with various

    geographies and market capitalizations to enable their participants to develop diversified

    portfolios consistent with the level of investment risk and investment time horizon of each

    individual participant.


                     2.       When evaluating international funds, plan sponsors focus on whether the
                              fund addresses participant needs and not on whether, or to what extent, the
                              fund pays foreign taxes

            60.      In my nearly 40 years of industry experience, I have never experienced, nor have I

    been aware of, foreign tax credits being relevant to the evaluations of international investment

    options for retirement plans. Specifically, over the course of my career I have reviewed and

    assisted in the development of Investment Policy Statements for over 50 plan clients and have

    consulted with various investment advisors on the development of investment fund evaluation

    metrics. During this time, I have never encountered plan sponsors or plan advisors that

    evaluated international funds based on whether, and to what extent, they pay foreign taxes and/or

    whether recordkeepers were allowed foreign tax credits as a result. My experiences are

    consistent with the Investment Policy Statement for the State of Florida’s Deferred

    Compensation Plan, which makes no reference to foreign tax credits in terms of selecting and

    monitoring plan investments.112 Similarly, the Investment Policy Statement drafted for the




    112
      State of Florida Employees Deferred Compensation Plan: Investment Policy for Product Selection and Retention,
    2016, available at: https://sf01.myfloridacfo.com/docs-sf/deferred-compensation-libraries/dc-
    documents/administrative-documents/investment-policy.pdf?sfvrsn=db7ba35b_8.


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    Named Plaintiff Plan by Mr. Searcy, a document that typically describes a plan fiduciary’s

    investment process, does not reference foreign tax credits.113

            61.      As a general matter, plan sponsors and plan advisors evaluate funds, including

    international funds, based on multiple qualitative and quantitative factors, including performance

    (near-term and long-term relative to benchmarks and peer groups), style consistency (the fund

    remains consistent with its asset category), risk, manager tenure, and performance in up and

    down markets. Plan sponsors and plan advisors typically also consider the fees associated with

    each investment option and what portion, if any, of an investment’s fee is used to offset the costs

    for administrative services. For international funds, plan sponsors and plan advisors also

    typically consider geographical allocations.

            62.      Foreign taxes are an investment attribute shared by many international investment

    options. However, like other investment options, there are many other factors or investment

    attributes, such as trading costs, fund administrative fees, and asset management fees, that may

    increase or decrease the returns to an investment. Rather than evaluating the reasonableness of

    individual factors and investment attributes that may affect returns, plan sponsors and plan

    advisors typically evaluate international investment options based on, among other things, their

    net of fee returns which encompasses both gains derived from investing in international

    securities as well as any taxes, foreign or otherwise, and other investment attributes that may

    increase or decrease returns. This approach is commonly taken regardless of whether an

    international investment option is being offered on an annuity-based recordkeeping platform or a

    trust-based recordkeeping platform. For example, based on my understanding of how net of fees



    113
       It is my understanding that the draft Investment Policy Statement was not formally adopted by the Named
    Plaintiffs. (Searcy Deposition, Exhibit 108 (Investment Policy Statement for Romano Law Group, prepared on May
    18, 2020, CDSJR00063-075); Searcy Deposition, 117:2-8; Eric Romano Deposition, 74:6-11, 118:6-25.)


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    returns are calculated, the net of fees return to the I Fund reflects any foreign taxes withheld on

    dividends received by the I Fund; however, the Federal Thrift Savings Plan does not pay U.S.

    taxes or receive foreign tax credits.114

               63.      In contrast to the quantitative and qualitative fund attributes described above,

    including net returns, whether and how foreign tax credits are available or disclosed carry little,

    if any, relevance to whether an investment option addresses the overall investment needs of plan

    participants. Given the importance of the other investment attributes discussed above, plan

    sponsors typically do not consider foreign tax credits in their evaluation of investment options.


    VI.        Based on My Experience, It Is My Opinion that Plaintiffs’ Proposed Fee
               Concessions for Foreign Tax Credits Would Not Have Affected the Total
               Recordkeeping Fees for Many Plans of the Proposed Class

               64.      Plaintiffs imply that John Hancock was required to provide Plans with fee

    concessions for foreign tax credits.115 However, this implication conflicts with industry practices

    with respect to when and how many recordkeepers provide fee concessions. Moreover, it is

    unlikely that fee concessions for foreign tax credits, as proposed by Plaintiffs, would have

    decreased the total recordkeeping fees collected by John Hancock. John Hancock, like most

    other recordkeepers in the marketplace, prices plans based on an evaluation of John Hancock’s

    expected revenues given each Plan’s specific attributes (e.g., plan assets, number of participants,




    114
          Summary of the Thrift Savings Plan, p. 22, available at: https://www.tsp.gov/publications/tspbk08.pdf.
    115
       Specifically, Plaintiffs state in the Complaint that, “the Plan’s assets were diminished by the amount of the
    foreign tax credits retained by [John Hancock] but not credited to the Plan and the income those overcharges would
    have earned had they been properly credited to the Plan’s Account.” (Complaint, ¶ 2.) See also, Plaintiffs’ Motion
    for Class Certification, pp. 4-5.


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    annual contributions, etc.), their overall servicing requirements,116 the costs to John Hancock to

    provide requested services, and market pressures.117 Based on my experience, it is my opinion

    that John Hancock could have achieved the same total expected revenues by offering fee

    concessions for foreign tax credits and simultaneously increasing other fees (or reducing other

    fee concessions).


             A.       Recordkeepers Do Not Generally Provide Fee Concessions for Foreign Tax
                      Credits

             65.      In my experience, while recordkeepers provide fee concessions (or fee discounts)

    for various reasons, recordkeepers do not generally provide fee concessions for foreign tax

    credits. As a general matter, fee concessions are negotiated on a plan-by-plan basis based on not

    only the recordkeeper’s pricing objectives but also the services individual plan sponsors choose

    to receive from their recordkeeper. Documentary evidence in this matter reflects that

    recordkeepers often provide fee concessions for various reasons but rarely do so for foreign tax

    credits. For example, to attract plans of a certain size or to further incentivize plan participants

    to save for retirement, recordkeepers often provide fee concessions if plan assets meet certain

    minimums.118 For instance, the Named Plaintiff Plan’s 2014 Recordkeeping Agreement



    116
       30(b)(6) Deposition of Joe Almada, July 21, 2021 (“Almada 30(b)(6) Deposition”), 31:15-32:5. (“And
    obviously, what I would say in any kind of business, that’s where the plan then gets kind of submitted through this
    sort of overall process to draw pricing and obviously our pricing is really kind of heavily dependent on four or five
    key factors, which is really understanding -- what are the total assets in that plan, what are the total participants and
    what’s the contribution of that particular plan. And then obviously, you know, within sort of those three or four key
    data points, we’re able to assess what is the administration in the recordkeeping fee that we would charge for that
    particular plan.”) See also, Almada 30(b)(6) Deposition, 22:19-23:2, 32:21-23, 54:6-16, 81:5-15.
    117
        Almada 30(b)(6) Deposition, 61:8-19. (“With respect to recordkeeping fees in general, right, what we charge
    plan sponsors, yes, I mean, obviously over time we’ve had to, I’d say, adjust kind of what we charge recordkeeping
    fees in general from plan to plan just given the way the overall market works. So yeah, over time, obviously with
    any product company service, you’re pricing does evolve and does change and needs to change relative to the
    individual market in that time.”)
    118
        For example, the OneAmerica proposals for the Named Plaintiff Plan show that OneAmerica provides fee
    concessions based on the plan balance. (OneAmerica, “Romano Law Group 401k Plan Cost Information,” expires



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    identified a 15 basis point credit allocated to participants with a non-zero account balance at the

    end of each month.119 John Hancock offered additional fee concessions if the Named Plaintiff

    Plan’s total assets exceeded $1 million or if a participant’s annual average transfer amount

    exceeds $10,000 annually.120

             66.      Recordkeepers may also issue fee concessions to incentivize established plans to

    remain on their recordkeeping platform. For example, during the 2020 RFP process, John

    Hancock offered to reduce the estimated recordkeeping fees it collected from the Named

    Plaintiff Plan by 38 basis points (“bps”) if the Named Plaintiff Plan retained John Hancock.121

    Recordkeepers may also provide fee concessions if plan sponsors include certain investment

    options, such as funds managed by the recordkeeper, in the plan lineup. Fidelity, for example,

    proposed a 12 bps reduction in its annual administration fee if the Named Plaintiffs chose to

    offer Fidelity Target Date funds on the Named Plaintiff Plan lineup.122

             67.      Finally, recordkeepers may also offer fee concessions in an effort to compete with

    other recordkeepers. Mr. Almada, Head of Pricing for U.S. Retirement at John Hancock, for



    November 15, 2020, Searcy_Christian-00000180; OneAmerica, “Romano Law Group 401k Plan Cost Information,”
    expires November 15, 2020, Searcy_Christian-00000181.)
    119
       According to the Supplemental Information Guide, “[t]he contract-level charge stated above is calculated net of
    an annualized credit of 0.150% that is available to the Plan and which will be allocated to each participant with an
    account balance at the end of each month. The annualized credit applies when (i) the cost of the Class of Funds
    selected for this proposal is greater than (ii) the rate of the total asset-based compensation payable to the
    intermediaries and John Hancock, if applicable (as described in the Details of estimated annual plan costs section of
    the Recordkeeping Agreement).” (Todd Romano Deposition, Exhibit 61 (Supplemental Information Guide prepared
    for Romano & Romano 401(k) Profit Sharing Plan, June 18, 2014, ROMANO-000090-107 at 093, 100).)
    120
      Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano & Romano 401(k) Profit
    Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000028-049 at 033-
    034); Todd Romano Deposition, Exhibit 61 (Supplemental Information Guide prepared for Romano & Romano
    401(k) Profit Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000090-
    107 at 092-093).
    121
      Letter from John Hancock to Eric Romano, Re: Offer to lower fee for ROMANO LAW, PL (Contract No.
    115534), August 14, 2020, Searcy_Christian-00000145.
    122
       Searcy Deposition, Exhibit 117 (Fidelity Defined Contribution WorkPlace Services, “Schedule of Fees and
    Services,” August 12, 2020, pp. 10, 12).


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    example, testified that depending on the plan, John Hancock may adjust its pricing to match a

    competitor’s pricing.123 However, the availability of such fee concessions may depend on how

    the plan advisor negotiates with the recordkeeper. Mr. Cobey, Regional VP of Retirement Plan

    Services at John Hancock, described the process between John Hancock and plan advisors,

    detailing that what he “may try to do is go back to [his] underwriting department” if the plan’s

    advisor is “getting multiple proposals.”124

               68.      This negotiation process is consistent with my experience in assisting plan

    sponsors with conducting RFPs and selecting recordkeepers. It is not uncommon for plan

    sponsors and plan advisors to leverage one recordkeeper’s fee proposal to negotiate and obtain

    more favorable pricing from another recordkeeper. In addition, it is my experience that in

    certain instances, an incumbent recordkeeper participating in an RFP process may respond to

    competitive market pressures by offering fee concessions. However, in my nearly 40 years of

    industry experience, I have only encountered one recordkeeper (Securian) in the marketplace that

    claims to provide fee concessions for foreign tax credits. However, as I will discuss below,

    Securian’s fee concessions for foreign tax credits do not necessarily reduce the total amount of

    compensation it collects for providing recordkeeping services to retirement plans.


               B.       Fee Concessions for Foreign Tax Credits Proposed by Plaintiffs Are Unlikely
                        to Materially Change a Plan’s Total Recordkeeping Fee

                        1.      Fee concessions must be evaluated in the context of each Plan’s overall
                                recordkeeping fee arrangement

               69.      To understand why a fee concession is unlikely to affect a Plan’s total

    recordkeeping fee, it is necessary to understand how recordkeeping fee arrangements are



    123
          Deposition of Joe Almada, May 7, 2021 (“Almada Deposition”), 6:25-7:4, 23:21-24:4.
    124
          Cobey Deposition, 11:18-25, 87:14-88:10.


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    established and structured, and how fee concessions for foreign tax credits, if provided, would be

    incorporated into that structure.

               70.      Recordkeeping fee arrangements are complex, consist of multiple inter-related fee

    components, and reflect the individualized nature of the services each plan sponsor selects to

    receive from recordkeepers. In this matter, the total compensation that recordkeepers receive,

    which I refer to as “total recordkeeping fees,” are established by recordkeeping fee arrangements

    negotiated between each Proposed Class Member and John Hancock. According to Mr. Almada,

    “every plan that [John Hancock] price[s] out is priced individually, right. So each plan has its

    own recordkeeping fees based off that particular plan’s specs, so every plan would have a

    separate recordkeeping fee that we would charge.”125 Typically, at the outset of each contract,

    recordkeepers such as John Hancock estimate the “required revenue,” or the compensation they

    will accept for providing the combination of services selected by a plan given the plan’s

    characteristics such as plan assets, number of participants, and anticipated growth trajectory over

    time.126 Based on this required revenue, the recordkeeper then works with individual plan

    sponsors and plan advisors to establish a fee arrangement through which total recordkeeping fees

    would be collected.

               71.      Total recordkeeping fees can be collected through various and distinct fee

    components, including asset-based fees collected from participant accounts or the plan sponsor,

    fixed per participant fees collected from participant accounts or the plan sponsor, and revenue




    125
          Almada 30(b)(6) Deposition, 59:19-24.
    126
          See, Almada 30(b)(6) Deposition, 22:19-23:2, 31:15-32:5, 119:17-25.


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    sharing payments received from investment managers of the plan’s investment options.127 In my

    experience, provided the total recordkeeping fees enable the recordkeeper to achieve its required

    revenue amount, recordkeepers are generally flexible in how fees may be paid and how fees are

    allocated across participant account balances. For various plan-specific reasons, one plan may

    prefer that its recordkeeper collects all of its compensation through asset-based fees collected

    from participant accounts, while another plan may prefer that its recordkeeper use a combination

    of fixed per participant fees and revenue sharing payments to collect total recordkeeping fees.128

    Plan sponsors may also opt to pay for a portion of, or all, recordkeeping fees themselves.

    Alternatively, plan sponsors may elect to have plan participants pay for all of the recordkeeping

    fees.129 Moreover, regardless of the allocation of recordkeeping fees across plan sponsors and

    plan participants, fees may be asset-based (a defined percentage of assets), based on number of

    participant accounts (a fixed dollar amount per participant), or a combination of the two

    methods. For example, the Named Plaintiffs in this matter elected to have Named Plaintiff Plan

    participants pay for recordkeeping services through asset-based and flat dollar charges applied to




    127
      See, e.g., John Hancock, Plan Review for Romano Law, PL | 115534, February 5, 2019, UBS00006456-495 at
    476; Todd Romano Deposition, Exhibit 61 (Supplemental Information Guide prepared for Romano & Romano
    401(k) Profit Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000090-
    107 at 100).
    128
          Almada 30(b)(6) Deposition, 35:9-18, 43:3-18, 117:14-118:20.
    129
        Eric Romano Deposition, 87:15-88:12. (“Q. Okay. Did you make a decision that the cost for the John Hancock
    services would be paid through the plan as opposed to seperately [sic] paid for by Romano Law, PL? A. I think that
    we did, yes. I think it was explained to us that typically the fees would be taken from the fund assets. So everybody
    in the plan would pay kind of proportionate or pro-rata share of the fees for their share of the assets that were in the
    plan. … Q. Do you remember Christian discussing with you that you had an alternative option to pay John
    Hancock’s fees seperately [sic] from participant accounts and instead from the company or from the law firm itself?
    A. I don't recall that conversation specifically. … As I sit here now, I don’t recall if I knew that at that time. I know
    that now I think from more recent discussions we had regarding the Fidelity plan, but I’m not sure I knew that in
    2014. I just don’t remember.”)


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    participant account balances.130 Because recordkeeping fee arrangements vary substantially

    from plan to plan, fee concessions must be evaluated within the context of each plan’s overall

    recordkeeping fee arrangement.


                     2.       Implementing a fee concession for foreign tax credits, as Plaintiffs assert,
                              would not necessarily decrease total recordkeeping fees

            72.      Because the various fee components of a plan’s recordkeeping fee arrangement

    are inter-related, the provision of a fee concession for foreign tax credits, as Plaintiffs propose,

    may not materially decrease the total recordkeeping fees received by John Hancock. For

    example, to ensure that it is adequately compensated for the combination of services it provides,

    if a fee concession for a specific plan sponsor lowers the total recordkeeping fee below a

    recordkeeper’s required revenue, the recordkeeper can offset this decrease in compensation by

    simultaneously increasing the compensation it collects from other fee components (or decreasing

    other fee concessions).

            73.      As discussed above, Securian131 is the only recordkeeper I am aware of that

    actively advertises fee concessions for foreign tax credits as a feature of its recordkeeping

    arrangements.132 However, despite its provision of foreign tax credits, the total compensation

    Securian collects for providing recordkeeping services to a plan is not necessarily lower than the




    130
      Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano & Romano 401(k) Profit
    Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000028-049 at 033-
    034); Todd Romano Deposition, Exhibit 61 (Supplemental Information Guide prepared for Romano & Romano
    401(k) Profit Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000090-
    107 at 092-093, 100).
    131
       Like John Hancock, Securian provides retirement services through GVACs. See, e.g., Securian, “Plan Sponsor,”
    available at: https://www.securianretirementcenter.com/sponsor/main/#/basicLogin. (“Securian Retirement’s
    qualified plan products are offered through a group variable annuity contract issued by Minnesota Life Insurance
    Company, a Securian Financial Group affiliate.”)
    132
       Securian, “Why Choose Securian Financial?” available at: https://www.securian.com/products-
    services/employers/retirement-plans/why-securian.html.


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    compensation other recordkeepers, who do not provide fee concessions for foreign tax credits,

    collect for offering similar services. Take for example, the RFP responses Mr. Searcy received

    from UBS, Fidelity, John Hancock, and Securian for an unnamed plan with 36 participants and

    approximately $6 million in assets.133 Among the four RFP respondents, Securian was the only

    recordkeeper to offer fee concessions for foreign tax credits. Specifically, Securian’s RFP

    response included seven investment options that were associated with a foreign tax credit

    ranging from 1 basis point (e.g., DFA Emerging Markets) to 10 basis points (e.g., Parametric

    International Equity Investor).134 However, while the specific services and details of each

    proposed fee arrangement differ, a comparison of the fee arrangement proposed by each of the

    four respondents indicates that Securian’s total recordkeeping fees (35 bps135) were at least 11

    bps higher than the recordkeeping fee that Fidelity (18 to 22 bps136), John Hancock (22 bps137),

    and UBS (23.6 bps138) proposed, and would have more than offset the 1 to 10 bps fee concession

    for foreign tax credits that it provided. Hence, while Securian did provide a fee concession for




    133
      Email from [Redacted for CID] to Christian Searcy re: RE: Update Provider Analysis: [Redacted for CID],
    August 5, 2017, and attached proposals, UBS00004497-590 at 522, 533, 537, 557, 567.
    134
      Email from [Redacted for CID] to Christian Searcy re: RE: Update Provider Analysis: [Redacted for CID],
    August 5, 2017, and attached proposals, UBS00004497-590 at 576-577.
    135
       Securian’s total recordkeeping fee is based on its contract asset charge. Securian’s proposal states that any
    revenue sharing amounts Securian receives from investment options provided will be credited towards the contract
    asset charge for that investment option. (Email from [Redacted for CID] to Christian Searcy re: RE: Update Provider
    Analysis: [Redacted for CID], August 5, 2017, and attached proposals, UBS00004497-590 at 567-569.)
    136
      Email from [Redacted for CID] to Christian Searcy re: RE: Update Provider Analysis: [Redacted for CID],
    August 5, 2017, and attached proposals, UBS00004497-590 at 533, 537.
    137
      Email from [Redacted for CID] to Christian Searcy re: RE: Update Provider Analysis: [Redacted for CID],
    August 5, 2017, and attached proposals, UBS00004497-590 at 557.
    138
       UBS’s recordkeeping fee is calculated as the sum of (1) a 20 bps platform fee that may be offset by any form of
    revenue sharing paid by each fund in the plan, and (2) a $60 per participant fee that equates to ~3.6 bps based on the
    plan’s 36 participants and approximately $5,944,254 in plan assets. (Email from [Redacted for CID] to Christian
    Searcy re: RE: Update Provider Analysis: [Redacted for CID], August 5, 2017, and attached proposals,
    UBS00004497-590 at 522.)


                                                             53
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    foreign tax credits, its total recordkeeping fees, even after reflecting those foreign tax credits,

    were higher than the total recordkeeping fees other recordkeepers estimated for the same plan.

           74.     This Securian example highlights that Plaintiffs’ claim that John Hancock should

    have provided fee concessions for foreign tax credits completely ignores how recordkeeping fee

    arrangements are established and structured. Given that John Hancock can adjust fee

    components within a fee arrangement to ensure that its required revenue is met, it is my opinion

    that implementing a fee concession for foreign tax credits, as Plaintiffs assert, would not

    necessarily decrease total recordkeeping fees.


           C.      Foreign Tax Credits Were Not Material to the Named Plaintiffs’
                   Recordkeeping Fee Arrangement with John Hancock

           75.     Documentary evidence reflects that additional disclosures of John Hancock’s

    allowance of foreign tax credits or fee concessions for foreign tax credits would not have

    affected the recordkeeping fee arrangement between the Named Plaintiffs and John Hancock for

    the Named Plaintiff Plan. Despite having information on foreign tax credits and access to John

    Hancock’s sales representatives, the Named Plaintiffs and Mr. Searcy never sought to renegotiate

    the recordkeeping fee arrangement between the Named Plaintiff Plan and John Hancock

    throughout the Proposed Class Period, or to replace John Hancock with a recordkeeper that could

    incorporate fee concessions for foreign tax credits in its new recordkeeping fee arrangement—

    indicating that foreign tax credits are not relevant to how the Named Plaintiffs select

    recordkeepers or negotiate fee arrangements.




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               76.      The documents in this case suggest that Mr. Searcy was aware of foreign tax

    credits from at least July 2013, if not earlier,139 when he received a proposal from a sales

    representative at Securian that included fee concessions for foreign tax credits.140 Mr. Searcy

    also testified that he had conversations with sales representatives from various recordkeepers,

    including John Hancock, regarding foreign tax credits during the Proposed Class Period.141

    Despite his understanding of foreign tax credits, his awareness of the fee concessions for foreign

    tax credits marketed by Securian, and his conversations with Mr. Cobey at John Hancock,

    Mr. Searcy did not seek to renegotiate the Named Plaintiff Plan’s fee arrangement to obtain fee

    concessions for foreign tax credits.142

               77.      Mr. Todd Romano also testified that he and Eric Romano discussed the concept of

    foreign tax credits as early as 2017 or 2018.143 Despite their awareness of foreign tax credits,



    139
       Mr. Searcy also testified that the “first time that [he] may have run into the term or the concept” of foreign tax
    credits was during his financial accounting classes or “during either the CFP [Certified Financial Planner] or CPWA
    [Certified Private Wealth Advisor] when it comes to the taxes and retirement planning sections.” (Searcy
    Deposition, 169:22-170:11.)
    140
        See, e.g., Email from John McGuire to Christian D. Searcy, re: [Redacted for CID], July 26, 2013, and
    attachments, UBS00000018-145 at 030-034; Email from John McGuire to Christian D. Searcy, re: [Redacted for
    CID], July 26, 2013, and attachments, UBS00000149-203 at 149, 153-156.
    141
       Searcy Deposition, 174:7-21. (“Q. Do you recall any conversations with Bruce Cobey about foreign tax credits?
    A. I can’t say I recall a specific conversation with Bruce. I do recall in general asking recordkeepers about it.
    Remember I mentioned the guy had the marketing thing about it, the other company that was pitching that they
    refunded the foreign tax credits. Q. Securian? A. Yes, that one. So when I read that I think I asked the providers that
    I was using if they got foreign tax credits and if so what they did with them. I seem to remember not really getting
    much response from anybody. So I don’t remember who I would have talked to at all the different companies, but I
    think I asked that question.”) See also, Cobey Deposition, 41:25-43:23.
    142
          See, e.g., Martinez Deposition, 86:2-5; Eric Romano Deposition, 174:1-175:4; Todd Romano Deposition, 216:1-
    5.
    143
       Todd Romano Deposition, 12:8-13:5. (“A. I recall -- I guess my first recollection is speaking to my brother Eric
    Romano about foreign tax credits. I believe it came up at some point based on some discussions he had had with
    Christian Searcy, our financial advisor. I recall several years ago just discussing it in general terms with my brother
    Eric. Q. Do you recall when that conversation with your brother Eric took place? A. I would have to say three or
    four years ago. Q. Is that 2018? Does that sound right? A. I would say 2017 or 2018, yes, ma’am, as best as I can
    recall. … I recall that he mentioned he had a discussion with Christian Searcy. There was some indication that under
    our current 401(k) plan at the time with John Hancock that there were certain foreign tax credits that perhaps were
    not -- were being maintained by the plan and were not being provided to us as plan members or our employees as
    plan participants and that was -- that was it.”)


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    foreign tax credits were not prioritized or relevant to their selection and monitoring of the Named

    Plaintiff Plan investment options throughout the Proposed Class Period. For example,

    Mr. Searcy testified that foreign taxes were not a selection or monitoring criterion for the

    Named Plaintiff Plan.144 Melanie Martinez, Chief Compliance Officer and Financial Advisor at

    Pursuit Wealth Management, also testified that she is not aware of any discussions on foreign tax

    credits during Named Plaintiff Plan committee meetings during the Proposed Class Period.145

            78.      Documentary evidence also reflects that the Named Plaintiffs and Mr. Searcy did

    not prioritize (or, according to the meeting minutes, discuss) foreign tax credits when selecting a

    new recordkeeper in November 2020.146 Even though both Named Plaintiffs and Mr. Searcy

    were aware of foreign tax credits at the time of the 2020 RFP process, Mr. Searcy and the Named

    Plaintiffs only reviewed responses from recordkeepers that did not provide fee concessions for

    foreign tax credits (Fidelity, John Hancock, and OneAmerica), and ultimately selected Fidelity,

    which services plans on a trust-based recordkeeping platform.147 As of his deposition in 2021,

    Mr. Eric Romano testified that he is not aware whether Fidelity provides any fee concessions for




    144
       Searcy Deposition, 98:19-99:20, 114:25-115:4, 125:4-10, 164:23-165:3. Ms. Martinez also testified that foreign
    taxes were not a criterion for a fund being replaced or removed from the Named Plaintiff Plan. (Martinez
    Deposition, 59:8-11, 60:15-25.)
    145
      Martinez Deposition, 9:4-9, 95:4-7. (“Q. Have you been at any investment committee meeting for the Romano
    Law 401(k) plan where foreign tax credits were discussed? A. No.”)
    146
      Eric Romano Deposition, Exhibit 34 (Minutes of Investment Committee Meeting, Romano Law, PL 401(k) Plan,
    November 19, 2020).
    147
      Eric Romano Deposition, Exhibit 34 (Minutes of Investment Committee Meeting, Romano Law, PL 401(k) Plan,
    November 19, 2020).


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    foreign tax credits.148,149 However, Mr. Searcy testified that it is his “understanding that

    [recordkeepers that use trust-based recordkeeping platforms such as Fidelity] do not have the

    ability to file for the foreign tax credit” and do not offer credits to participants or plans for

    foreign tax credits.150

               79.      That John Hancock did not provide additional disclosures of or fee concessions

    for foreign tax credits did not affect the impression of the Named Plaintiffs or their advisor on

    the overall level and quality of administrative services John Hancock provided. In fact,

    deposition testimony by Mr. Searcy and Ms. Martinez indicate that the Named Plaintiffs were

    generally satisfied with the recordkeeping services the Named Plaintiff Plan received from John

    Hancock. For example, meeting minutes from May 2018 recorded by Melanie Martinez noted

    “Christian and I obtained general feedback on the 401K plan. Todd and Eric seem pleased with

    where everything stands.”151 Mr. Searcy further testified that “on the service metric John

    Hancock has always been above average service level” and except for some “frustration in the

    international large cap value space for a period of time,” Mr. Searcy has “no recollection about

    general dissatisfaction of the investment lineup.”152



    148
       Eric Romano Deposition, 205:11-25. (“Q. As you sit here today do you know whether or not Fidelity credits to
    the plan or participants any foreign tax credits that are generated with respect to investments that are made through
    the Fidelity platform? A. I don’t know. Q. Okay. You testified earlier that was a rationale for conducting this RFP
    was because of your concern about the way John Hancock treated credits, right? That was your testimony? A.
    Correct. Q. But as part of the RFP the winning bid went to somebody for whom, even as you sit here today, you
    don’t know how that credit foreign credits taxed passed on by mutual funds invested through the plan, correct? A.
    Specifically, that’s correct.”)
    149
      Similarly, Mr. Todd Romano testified that he “[does not] recall ever even thinking about [selecting an insurance
    company versus a fund company] as a consideration, no.” (Todd Romano Deposition, 130:5-10.)
    150
       Searcy Deposition, 180:22-181:6. See also, Searcy Deposition, 203:12-16. (“Q. So this is consistent with your
    understanding that today the Romano Law plan utilizing a trust product does not utilize and is unable to utilize
    foreign tax credits with that trust structure, correct? A. Correct.”)
    151
      Martinez Deposition, Exhibit 145 (Minutes of Investment Committee Meeting, May 7, 2018, ROMANO-001717-
    747 at 745).
    152
          Searcy Deposition, 69:18-20; 142:19-143:1.


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                80.      Based on the evidence described above, it is my opinion that additional

    disclosures of John Hancock’s allowance of foreign tax credits or fee concessions for foreign tax

    credits would not have affected the recordkeeping fee arrangement between the Named Plaintiffs

    and John Hancock for the Named Plaintiff Plan.


    VII.        Contrary to Plaintiffs’ Claim, John Hancock’s Compensation Was Reasonable and
                In Line with the Fees Received by Other Recordkeepers

                A.       Plaintiffs’ Claim that John Hancock Received “More than Reasonable
                         Compensation”153 Is Implausible Given the Competitive Nature of the
                         Retirement Plan Recordkeeping Industry

                81.      Plaintiffs assert that John Hancock received “more than reasonable

    compensation.”154 However, this assertion is inconsistent with the competitive nature of the

    retirement plan recordkeeping industry. In my experience, competition among plan

    recordkeepers for plan clients precludes any recordkeeper, including John Hancock, from

    charging unreasonable fees to informed plans.155 Specifically, although there is no specific

    requirement to do so, certain plan sponsors, with assistance from plan advisors, will conduct

    RFPs or RFIs every five years to understand whether the services they are receiving from their

    recordkeeper are appropriate given their fees, and whether a recordkeeper change is warranted.156

    In addition to RFPs and RFIs, retirement plan sponsors will also formally benchmark their fees




    153
          Plaintiffs’ Motion for Class Certification, p. 7.
    154
          Plaintiffs’ Motion for Class Certification, p. 7.
    155
       As discussed in Section IV.B., because GVACs are required to be sold through registered broker-dealers and
    investment advisors, Proposed Class Members are often, if not always, aided in their decision-making by Proposed
    Class Advisors.
    156
       Umpierrez, Amanda, “Important Considerations for the RFP Process,” PlanSponsor, September 3, 2020,
    available at: https://www.plansponsor.com/in-depth/important-considerations-rfp-process/.


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    for the purpose of assessing the reasonableness of those fees.157 Given the frequency with which

    many plan sponsors and plan advisors evaluate recordkeepers, in my experience, recordkeepers

    that charge unreasonable fees for the bundle of services that they provide would see substantial

    declines in the number of plans serviced over time as plan clients replace them with

    recordkeepers that charge more reasonable fees or provide higher levels of service for

    comparable fees. Consistent with my experience, industry publication Investment News reports

    that over the last decade, “[c]ompetition has driven record keepers to undercut each other on

    pricing, sometimes to an irrational degree, in order to win new business – a trend that, if it

    continues, could drive some firms out of business.”158

             82.      If, as Plaintiffs claim, John Hancock received unreasonable compensation for the

    services it provides, retirement plans would stop retaining John Hancock as plan recordkeeper.

    On the contrary, in 2020, John Hancock and its affiliates added 4,888 defined contribution plans

    to its servicing platforms, the seventh highest among all defined contribution plan

    recordkeepers.159 Also as of 2020, John Hancock and its affiliates were the fifth largest provider

    (in terms of the number of plans serviced) to 401(k) plans with less than $10 million in assets.160

    John Hancock’s ability to attract and retain retirement plans reflects that, contrary to Plaintiffs’

    claim, plan sponsors and plan advisors seeking recordkeeping services generally consider the




    157
       According to the 2020 Callan DC Trends Survey “nearly 9 in 10 plan sponsors (88.9%) benchmarked the level of
    plan fees as part of their fee evaluation process” with the survey further noting that “[i]n the majority of cases, the
    consultant/adviser conducted the benchmarking (83.5%).” (Callan Institute, “2020 Defined Contribution Trends
    Survey,” p. 41.)
    158
       Iacurci, Greg, “Adjusting to the Squeeze of Fee Compression,” Investment News, November 9, 2019, available at:
    https://www.investmentnews.com/adjusting-to-the-squeeze-of-fee-compression-170635.
    159
       PlanSponsor, “2021 Recordkeeping Survey: Top Recordkeepers,” June 21, 2021, available at:
    https://www.plansponsor.com/research/2021-recordkeeping-survey/?pagesec=8#Provider%20Rankings.
    160
       PlanSponsor, “2021 Recordkeeping Survey: Top Recordkeepers,” June 21, 2021, available at:
    https://www.plansponsor.com/research/2021-recordkeeping-survey/?pagesec=8#Provider%20Rankings.


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    services John Hancock provides and the compensation it receives in exchange for these services

    to be reasonable.

               83.      Competition among recordkeepers also implies that if offering fee concessions for

    foreign tax credits enabled a recordkeeper to offer lower total fees for the same bundle of

    services than its competitors, other recordkeepers would have to offer similar fee concessions to

    remain competitive. However, with the exception of Securian, I am unaware of any

    recordkeepers that provide fee concessions for foreign tax credits, indicating that fee concessions

    for foreign tax credits do not result in lower total fees.


               B.       John Hancock’s Total Plan Fees for the Named Plaintiff Plan at Inception
                        Were in Line with the Total Plan Fees Received by Other Recordkeepers

               84.      A comparison of the Named Plaintiff Plan’s total plan fees at inception to the total

    plan fees of other providers in 2014 demonstrates that the compensation that John Hancock

    collected was reasonable. Specifically, the fee arrangement that the Named Plaintiff Plan

    established with John Hancock in 2014 resulted in total plan fees that were below the average

    total plan fees that Pension Data Source, Inc.161 reported for similar-sized plans as of September

    30, 2014.162 As documented in the 2014 Recordkeeping Agreement, the Named Plaintiff Plan’s

    recordkeeping fee arrangement was based on the following plan-specific assumptions:163




    161
      Pension Data Source is a widely recognized industry resource for 401(k) comparative fee information. Pension
    Data Source data are based on fee schedules that it obtained from surveyed service providers.
    162
          Huntley, D.W., Valletta, J.W., 401K Averages Book, 15th Edition, 2015.
    163
      Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano & Romano 401(k) Profit
    Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000028-049 at 033).


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                                                    Table 1
                                        Assumptions Underlying the
                              2014 Named Plaintiff Plan Recordkeeping Agreement




               85.      Based on these assumptions, John Hancock, the Named Plaintiffs, and Mr. Searcy

    executed a recordkeeping agreement which entailed asset-based fees of 1.988% plus a $24 per

    participant fee.164 Given the Named Plaintiff Plan’s 9 participants and $50,000 total expected

    contributions (see, Table 1), this results in total plan fees equivalent to 2.42%,165 or $134 per

    participant.166

                                               Table 2
           Comparison of Named Plaintiff Plan Total Plan Fees to 401(k) Average Survey Data
                                        (% of Plan Assets)167




    164
       Todd Romano Deposition, Exhibit 59 (Recordkeeping Agreement prepared for Romano & Romano 401(k) Profit
    Sharing Plan by John Hancock Life Insurance Company (U.S.A.), June 18, 2014, ROMANO-000028-049 at 033);
    Todd Romano Deposition, Exhibit 61 (Supplemental Information Guide prepared for Romano & Romano 401(k)
    Profit Sharing Plan, June 18, 2014, ROMANO-000090-107 at 093, 100).
    165
          2.42% = 1.988% fees plus $24 multiplied by 9 participants divided by $50,000.
    166
          $134 per participant = 2.42% fees multiplied by $50,000 divided by 9 participants.
    167
          Huntley, D.W., Valletta, J.W., 401K Averages Book, 15th Edition, 2015, p. 64.


                                                               61
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                                               Table 3
           Comparison of Named Plaintiff Plan Total Plan Fees to 401(k) Average Survey Data
                                        ($ per Participant)168




               86.      Compared to total plan fees reported by Pension Data Source, Inc. for plans with

    10 participants and $100,000 in assets, the Named Plaintiffs Plan’s total plan fees were lower

    than the average. As shown in Table 2, the Named Plaintiff Plan’s total plan fee of 2.42% was

    lower than at least 75 percent of the total plan fees that resulted from fee schedules of surveyed

    providers. Similarly, Table 3 shows that the Named Plaintiff Plan’s per participant total plan fee

    of $134 was $41 less than the lowest per participant total plan fee ($175) that resulted from the

    fee schedules of surveyed providers. The results of these comparisons indicate that the

    compensation John Hancock expected to receive for servicing the Named Plaintiff Plan at its

    inception was reasonable.



    Respectfully submitted, this 23rd day of August 2021,




    _______________________________________

                      Steven K. Gissiner




    168
          Huntley, D.W., Valletta, J.W., 401K Averages Book, 15th Edition, 2015, p. 62.


                                                               62
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                                           Steven K. Gissiner
                                           1700 Shadford Road
                                           Ann Arbor, MI 48103
        (734) 913-2901 (office); (813) 712-0879 (cell); steven.gissiner@orchardhillsconsulting.com


Summary of Professional Experience

Approximately 40 years of diversified retirement plan, investment consulting, and administrative services
experience, including working with client companies and retirement plan service providers to ensure the
effective management and administration of qualified retirement plan arrangements. Areas of expertise
include plan design and consulting, plan cost and administrative fee benchmarking, addressing operational
inefficiencies, preparing and evaluating defined contribution plan Requests for Proposals, and enhancing
employee education, communications, plan compliance, and fiduciary governance. Additional experience
includes fee litigation consulting and expert witness services.

Experience

Principal, Orchard Hills Consulting LLC                                                1/2004 to Present
 Provides comprehensive retirement and, through partner firms, investment consulting services to a
   broad range of tax-exempt and for-profit clients. Partner firms for which I serve as a non-employee
   Registered Investment Representative include Capital Research + Consulting of Pasadena, CA and
   BKS Retirement of Clearwater, FL.
 Assists clients in the structuring and management of retirement plan service arrangements to ensure
   reasonable and appropriate fees and services, high levels of employee participation, adherence to
   legal and regulatory requirements, and continued improvements in the areas of administration,
   participant asset allocation, and cost management.
 Provides expert witness and consulting services specific to retirement plan fee litigation, including
   Court testimony with respect to Tussey v. ABB and consulting support provided on behalf of
   American Airlines, Cerner Corporation, Franklin Templeton, Novitex Enterprise Solutions, Oracle
   Corporation, Pioneer Natural Resources, SERCO, Inc., West Corporation, and University of
   Pennsylvania.

Senior Vice President, Clark Consulting LLC.                                         5/2002 to 12/2003
 Managed Midwest office and performed retirement plan consulting, investment
   advisory, fee benchmarking, and compensation consulting projects on behalf of firm
   clients.
 Left to form Orchard Hills Consulting and maintained consulting relationship with Clark until 2006.

Partner, Arthur Andersen LLC                                                            3/2001 to 5/2002
 Direct admit Partner to the Human Capital Practice with overall responsibility for retirement and
   compensation consulting services performed by staff within the Great Lakes Region (seven
   offices).
 Human Capital Practice acquired by Clark Consulting in May 2002.

Partner, PricewaterhouseCoopers LLC                                                      8/1985 to 3/2001
 Increasing responsibilities over a 17-year period, including serving as West Region Managing Partner
   while maintaining overall responsibility for administrative outsourcing services performed for more than
   200 clients in the final years of employment.
 Served as relationship manager and lead consultant for multiple defined contribution plans.
 Elected to leave firm due to the sale of the administrative outsourcing practice to Mellon/Buck
   Consultants.


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                                             Steven K. Gissiner


Additional Prior Experience
Served as a Trust Officer for retirement plans administered by Harter Bank and First National Bank of
Cincinnati (1981-1985).

Education
University of Akron, MBA, Finance.
Muskingum University, BA, Business Administration Summa Cum Laude, With Distinction.

Deposition Testimony in Past Four Years
   Robert Sims, et al., Plaintiffs, v. BB&T Corporation, et al, Defendants, No. 1:15-cv-732-CCE-
    JEP, deposition date of December 4, 2017.
   Joan Obeslo, et al., Plaintiffs, v. Great-West Capital Management, LLC and Great-West Life &
    Annuity Insurance Co., et al., Defendants, No. 16-cv-00230-CMA-MJW and No.16-cv-03162-
    CMA-MJW; and Duplass, Zwain, Bourgeois, Pfister & Weinstock APLC 401(k) Plan, Plaintiff, v.
    Great-West Capital Management, Defendant, No.16-cv-01215-CMA-MJW, deposition date of
    April 13, 2018.

   Mary Bell, et al., Plaintiffs v. ATH Holding Company, LLC, et al., Defendants, Case No. 1:15-cv-
    02062-TWP-MPB, August 24, 2018.

   Maria Terraza, Plaintiff v. Safeway Inc, Case No. 3:16-cv-03994-JST and Dennis Lorenz,
    Plaintiff v. Safeway Inc., Case No. 4-16-cv-04903-JST, June 14, 2018.

   Clifton Marshall, et al., Plaintiffs v. Northrop Grumman Corporation, et al., Defendants, Case No.
    16-CV-6794AB (JCx), November 12, 2018.

   David B. Tracey, et al., Plaintiffs v. Massachusetts Institute of Technology, et al., Defendants, Case
    No. 1:16-cv-11620-NMG, July 2, 2019.

   Melissa Haley, Individually and On Behalf of Others Similarly Situated, Plaintiff, v. Teachers Insurance
    and Annuity Association, Defendant, Case No. 1:17-cv-00855-JPO, deposition date of October 16,
    2020

   Jaime H. Pizaro, et al., Plaintiffs v. The Home Depot Inc., et al., Defendants, Case No. 1:18-cv-01566-
    LMM, deposition date of May 28, 2021.

Publications in Past Ten Years
   “Commentary on Vanderbilt University and Duke University Fee Litigation” Bloomberg Law
    Review, December 8, 2016.

   “Lower Cost Clean Shares May Not Provide Expected Benefits to Plan Participants” Bloomberg
    BNA Insights, June 28, 2017.

   “INSIGHT: Issues and Considerations for Retirement Plan Sponsors Resulting From Increased
    Adoption and Usage of Managed Account Services” Bloomberg BNA Insights, November 15, 2018.

   “INSIGHT: A Guide to Avoid Becoming an Unfair Target of ERISA Litigation” Bloomberg Law,
    March 10, 2020.



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Legal Documents and Depositions
Eric Romano, et al. individually and on behalf of all others similarly situated, v. John Hancock Life Insurance Company
(U.S.A.) , Class Action Complaint, March 25, 2019
Defendant John Hancock Life Insurance Company (U.S.A.)’s Responses and Objections to Plaintiffs’ First Set of
Interrogatories, July 14, 2021
Eric Romano, et al. individually and on behalf of all others similarly situated, v. John Hancock Life Insurance Company
(U.S.A.) , Plaintiffs' Motion for Class Certification and Incorporated Memorandum of Law, July 26, 2021, and exhibits thereto
30(b)(6) Deposition of Bonnie Deodat Hamilton, July 19, 2021, and exhibits thereto
30(b)(6) Deposition of Joe Almada, July 21, 2021, and exhibits thereto
Deposition of Rick Carlson, April 29, 2021, and exhibits thereto
Deposition of Bruce Cobey, May 4, 2021, and exhibits thereto
Deposition of Joe Almada, May 7, 2021
Deposition of Xin Wang, May 11, 2021, and exhibits thereto
Deposition of Eric Romano, June 15, 2021, and exhibits thereto
Deposition of Todd Romano, June 17, 2021, and exhibits thereto
Deposition of Christian Searcy, June 22, 2021, and exhibits thereto
Deposition of Melanie Martinez McDonald, July 7, 2021, and exhibits thereto
Deposition of Keith Holden, July 21, 2021, and exhibits thereto
Produced Documents and Data
Statement of Assets and Liabilities of the Sub-Accounts of John Hancock Life Insurance Company (U.S.A.)
for Contract # 115534, the Trustees of Romano Law, PL 401(k) Plan
Statement of Assets and Liabilities, January 9, 2015                                                                            JH-ROMANO_041236-249
Statement of Assets and Liabilities, December 31, 2015                                                                          JH-ROMANO_041250-264
Statement of Assets and Liabilities, December 30, 2016                                                                          JH-ROMANO_041265-282
Statement of Assets and Liabilities, December 29, 2017                                                                          JH-ROMANO_041283-306
Statement of Assets and Liabilities, December 31, 2018                                                                          JH-ROMANO_041307-332
Emails
Email from John McGuire to Christian D. Searcy, re: [Redacted for CID], July 26, 2013, and attachments                          UBS00000018-145
Email from John McGuire to Christian D. Searcy, re: [Redacted for CID], July 26, 2013, and attachments                          UBS00000149-203
Email from Christian D. Searcy to Ellen Quinlan re: RE: Romano Law Group, June 16, 2014                                         UBS00000764-765
Email from Christian Searcy to Eric Romano, Todd Romano re: FW: Proposal for Romano & Romano 401(k) Profit Sharing
                                                                                                                                ROMANO-001253-255
Plan, June 24, 2014
Email from Katy Norusis to Eric Romano et al., re: 404a-5 Notice (re 401k), October 2, 2014                                     ROMANO-000269-290
Email from John McGuire to Christian D. Searcy, re: FW: Off-lease only, July 2, 2015                                            UBS00001852-941
Email from John M. McGuire to Christian Searcy, re: Update: Securian Foreign Tax Credits as of 11/30/16, December 5, 2016       UBS00003632-653
Email from [Redacted for CID] to Christian Searcy re: RE: Update Provider Analysis: [Redacted for CID], August 5, 2017,
                                                                                                                                UBS00004497-590
and attached proposals
Romano Law, PL Monitoring Reports
UBS DC Report for Romano Law Group, May 23, 2016                                                                                UBS00004417-454
UBS DC Report for Romano Law Group, November 3, 2016                                                                            UBS00004455-492
UBS DC Report for Romano Law Group, January 19, 2017                                                                            UBS00004334-374
UBS DC Report for Romano Law Group, February 2, 2018                                                                            UBS00005276-317
UBS DC Report for Romano Law Group, February 2, 2018                                                                            UBS00005328-369
UBS DC Report for Romano Law Group, August 2, 2018                                                                              UBS00005938-981
UBS DC Report for Romano Law Group, October 19, 2018                                                                            UBS00006212-253
UBS DC Report for Romano Law Group, January 15, 2019                                                                            UBS00006354-396
UBS DC Report for Romano Law Group, April 24, 2019                                                                              UBS00006782-6823
UBS DC Report for Romano Law Group, April 24, 2019                                                                              UBS00006825-866
Fi360, Monitoring Report Prepared for Romano Law Group, July 21, 2020                                                           CDSJR00307-356




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Romano Law, PL Meeting Minutes
Minutes of Investment Committee Meeting, November 5, 2015                                                                  ROMANO-000167
Minutes of Investment Committee Meeting, January 19, 2017                                                                  ROMANO-000168
Minutes of Investment Committee Meeting, May 11, 2017                                                                      ROMANO-000169
Minutes of Investment Committee Meeting, August 14, 2017                                                                   ROMANO-000170
Minutes of Investment Committee Meeting, November 1, 2017                                                                  ROMANO-000171
Minutes of Investment Committee Meeting, March 12, 2018                                                                    UBS00005373
Minutes of Investment Committee Meeting, May 7, 2018                                                                       UBS00005707-708
Minutes of Investment Committee Meeting, August 2, 2018                                                                    ROMANO-000174
Minutes of Investment Committee Meeting, October 29, 2018                                                                  ROMANO-000175
Minutes of Investment Committee Meeting, February 13, 2019                                                                 ROMANO-000193
Minutes of Investment Committee Meeting, May 20, 2019                                                                      UBS00006878
Minutes of Investment Committee Meeting, August 10, 2020                                                                   CDSJR00218-219
The Pension Studio, Romano Law, PL: Annual Meeting Agenda, October 29, 2018                                                UBS00006277
The Pension Studio, Romano Law, PL: Annual Meeting Agenda, February 13, 2019                                               ROMANO-000196
The Pension Studio, Romano Law, PL: Annual Meeting Agenda, February 13, 2019                                               UBS00006608
Other Produced Documents
[Redacted for CID], 401k Investment Committee Meeting Minutes, April 18, 2017                                              UBS00004088-091
Confirmation of Total Discontinuance, March 22, 2021
Fidelity, Schedule of Fees and Services Prepared for [Redacted], August 12, 2020                                           Searcy_Christian-00000152
John Hancock Retirement Plan Services, Contract Investment Allocation for Romano Law, PL (115534), July 13, 2018           UBS00005982-985
John Hancock Retirement Plan Services, “Important information for Plan Sponsors,” 2018                                     JH-ROMANO_037948-954
John Hancock Retirement Plan Services, Investment Option Selection, September 5, 2014                                      ROMANO-000127-128
John Hancock Retirement Plan Services, Plan Review for Romano Law, PL | 115534, February 5, 2019                           UBS00006456-495
John Hancock Retirement Plan Services, Plan Review for Romano Law, PL | 115534, May 18, 2020                               CDSJR00220-258
John Hancock Retirement Plan Services, “Supplemental Eligible Indirect Compensation Disclosures,” November 2018            JH-ROMANO_041333-354
John Hancock Retirement Plan Services, “Your Retirement Plan Proposal: Prepared for [Redacted for CID] Retirement Plan,”
                                                                                                                           UBS00004545-565
July 31, 2017
John Hancock, “Asset Manager Profiles: Templeton Global Bond Fund,” July 2021                                              JH-ROMANO_043165-171
John Hancock, Contract Investment Administration Instructions, 2018                                                        UBS00005709-735
John Hancock, Contract Investment Administration Instructions, effective September 2018                                    UBS00006036-065
John Hancock, Employer Financial Statement Year-to-Date: Jan/01/2020 to Dec/31/2020 for the Trustees of Romano Law, PL
401(k) Plan, Contract No. 115534
John Hancock, Executive Summary & Key Benchmarks for Romano Law, PL|115534, June 30, 2020                                  CDSJR00304-306
John Hancock, Romano Law, PL: Contract Snapshot, November 3, 2015                                                          UBS00002829
John Hancock, Romano Law, PL: Investment Allocation, November 3, 2015                                                      UBS00002830-831
Letter from John Hancock to Eric Romano, Re: Offer to lower fee for ROMANO LAW, PL (Contract No. 115534), August 14,
                                                                                                                           Searcy_Christian-00000145
2020
OneAmerica, Employee Education Program, 2018                                                                               Searcy_Christian-00000179
OneAmerica, My OneCheck Online by MasteryPOINT, 2016                                                                       Searcy_Christian-00000178
OneAmerica, RetirementTrack: The next chapter in target date series, 2020                                                  Searcy_Christian-00000199
OneAmerica, Romano Law Group 401k Plan                                                                                     Searcy_Christian-00000215
OneAmerica, Romano Law Group 401k Plan                                                                                     Searcy_Christian-00000182
OneAmerica, Romano Law Group 401k Plan Cost Information, expires November 15, 2020                                         Searcy_Christian-00000181
OneAmerica, Romano Law Group 401k Plan Cost Information, expires November 15, 2020                                         Searcy_Christian-00000180
OneAmerica, Sample Proposed Fund Lineup ZRS                                                                                Searcy_Christian-00000219
Principal, Romano Law, PL: Informal Business Valuation and Business Planning Report, August 2017                           UBS00005467-492
Romano Law, PL 401(K) Plan PPA PS/401(k) VS AA Plan Document Summary, October 29, 2018                                     UBS00006278-279
Romano Law, PL 401(K) Plan PPA PS/401(k) VS AA Plan Document Summary, February 13, 2019                                    UBS00006609-610
Romano Law, PL: Transaction Information, January 1, 2017 - October 26, 2018                                                UBS00006280
Romano Law, PL: Transaction Information, January 1, 2018 - December 31, 2018                                               UBS00006611




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Publicly Available Documents and Data
Form 5500
Romano Law, PL 401(k) Plan Form 5500, 2014
Romano Law, PL 401(k) Plan Form 5500, 2015
Romano Law, PL 401(k) Plan Form 5500, 2016
Romano Law, PL 401(k) Plan Form 5500, 2017
Romano Law, PL 401(k) Plan Form 5500, 2018
Romano Law, PL 401(k) Plan Form 5500, 2019
Other Publicly Available Documents and Data
29 CFR § 2550.403a-1, 403b-1
Alliance Bernstein, “Inside the Minds of Plan Sponsors,” 2017, available at:
https://www.alliancebernstein.com/investments/us/retirement/resources/pdf/FINAL DCI-6150-1117.pdf
AT&T Wireless 401(k) Savings Plan, Form 11-K, December 31, 2002
BrightScope/Investment Company Institute (ICI), “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at
401(k) Plans, 2016,” June 2019
BrightScope/Investment Company Institute (ICI), “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at
401(k) Plans, 2018,” July 2021
BrightScope/Investment Company Institute (ICI), “The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at
ERISA 403(b) Plans, 2016,” April 2020
California Department of Insurance, “Variable Life and Variable Annuity,” available at: http://www.insurance.ca.gov/0200-
industry/0050-renew-license/0200-requirements/life-only/variable-contracts.cfm
Callan Institute, “2020 Defined Contribution Trends Survey”
Charles Schwab, “401(k) plan services paired with independent providers,” available at:
https://workplacefinancialservices.schwab.com/retirement-services/401k-plans-paired-independent-providers
Clark/Bardes, Inc., Form 10-K, for the fiscal year ended December 31, 2002
Collins, S., et al., “The Economics of Providing 401(k) Plans: Services, Fees, and Expenses, 2016,” ICI Research Perspective
Vol. 23, No. 4, June 2017, available at: https://www.ici.org/pdf/per23-04.pdf
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https://www2.deloitte.com/content/dam/Deloitte/us/Documents/human-capital/us-2019-defined-contribution-benchmarking.pdf
Department of Labor, “A Look at 401(k) Plan Fees,” September 2019, available at:
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/publications/a-look-at-401k-plan-fees.pdf
Department of Labor, “Fiduciary Education Campaign - Getting It Right - Know Your Fiduciary Responsibilities,” available
at: https://www.dol.gov/agencies/ebsa/employers-and-advisers/plan-administration-and-compliance/fiduciary-
responsibilities/fiduciary-education-campaign
Department of Labor, “Final Regulation Relating to Service Provider Disclosures Under Section 408(b)(2),” February 2012,
available at: https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-center/fact-sheets/final-regulation-
service-provider-disclosures-under-408b2.pdf
Department of Labor, “Meeting Your Fiduciary Responsibilities,” September 2020, available at:
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/publications/meeting-your-fiduciary-
responsibilities.pdf
Department of Labor, “US Department of Labor Announces New Cybersecurity Guidance for Plan Sponsors, Plan Fiduciaries,
Record-keepers, Plan participants,” April 14, 2021, available at: https://www.dol.gov/newsroom/releases/ebsa/ebsa20210414
Department of Labor, “What You Should Know About Your Retirement Plan,” available at:
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/publications/what-you-should-know-
about-your-retirement-plan.pdf
Empower Retirement, “Your financial future is our priority,” available at: https://qa.empower-
retirement.com/individuals/additional-financial-offerings/annuities.shtml
Fidelity, “Investment and Retirement Products,” available at:
https://clearingcustody.fidelity.com/app/item/RD 13569 42640/products-and-services/investment-and-retirement-
FINRA, “Application Of NASD Conduct Rules To Group Variable Contracts And Other Exempted Securities,” available at:
https://www.finra.org/rules-guidance/notices/97-27
FINRA, “Investment Advisers,” available at: https://www.finra.org/investors/learn-to-invest/choosinginvestment-
professional/investment-advisers
FINRA, “Qualification Exams,” available at: https://www.finra.org/registration-exams-ce/qualification-exams
FINRA, “Variable Annuities,” available at: https://www.finra.org/investors/learn-to-invest/types-
investments/annuities/variable-annuities
Franklin Templeton Investments, Form N-1A of the Templeton Income Trust, December 24, 2014


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Franklin Templeton Investments, Form N-CSR of the Templeton Income Trust, August 31, 2015
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https://www.gsam.com/content/dam/gsam/pdfs/us/en/tax-information/tax guide.pdf?sa=n&rd=n
Huntley, D.W., Valletta, J.W., 401K Averages Book , 15th Edition, 2015
Iacurci, Greg, “Adjusting to the Squeeze of Fee Compression,” Investment News, November 9, 2019, available at:
https://www.investmentnews.com/adjusting-to-the-squeeze-of-fee-compression-170635
Iacurci, Greg, “Empower’s New 401(k) Cybersecurity Guarantee a Sign of the Times,” Investment News, June 26, 2018,
available at: https://www.investmentnews.com/empowers-new-401k-cybersecurity-guarantee-a-sign-of-the-times-74750
Internal Revenue Service, “401(k) Plan Overview,” available at: https://www.irs.gov/retirement-plans/plan-sponsor/401k-plan-
overview
Internal Revenue Service, “A Plan Sponsor’s Responsibilities,” available at: https://www.irs.gov/retirement-plans/plan-
sponsor/a-plan-sponsors-responsibilities
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